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                                       NO. 23-3030
                                            In The

             United States Court Of Appeals
                              For The Third Circuit
                                   LIBBY HILSENRATH,
                              on behalf of her minor child, C.H.,
                                                                     Appellant,

                                                v.

                       SCHOOL DISTRICT OF THE CHATHAMS;
    BOARD OF EDUCATION OF THE SCHOOL DISTRICT OF THE CHATHAMS;
         MICHAEL LASUSA, In his official capacity as the Superintendent of the
       School District of Chathams; KAREN CHASE, In her official capacity as the
              Assistant Superintendent of Curriculum and Instruction at the
     School District of the Chathams; JILL GIHORSKI, In her official capacity as the
     Principal of Chatham Middle School; STEVEN MAHER, In his official capacity
        as the Supervisor of Social Studies for the School District of the Chathams;
         MEGAN KEOWN, In her official capacity as a Social Studies teacher for
     Chatham Middle School; CHRISTINE JAKOWSKI, In her official capacity as a
                     Social Studies teacher for Chatham Middle School.
                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                 ________________________

                                    BRIEF OF APPELLANT
                                 ________________________




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                    United States Court of Appeals for the Third Circuit


                              Corporate Disclosure Statement and
                                Statement of Financial Interest

                                                   23-3030
                                             No. _________
                 LIBBY HILSENRATH, on behalf of her minor child, C.H.



                                                           v.
                 BOARD OF EDUCATION OF THE SCHOOL DISTRICT OF
                 THE CHATHAMS

                                                 Instructions

                 Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental
corporate party to a proceeding before this Court must file a statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of the party’s stock.

                  Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the outcome of
the litigation and the nature of that interest. This information need be provided only if a party has
something to report under that section of the LAR.

                  In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party to the
proceedings before this Court, the appellant must file this list. LAR 26.1(c).

                The purpose of collecting the information in the Corporate Disclosure and Financial
Interest Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.

                  The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court, or
upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must also be
included in the party’s principal brief before the table of contents regardless of whether the statement has
previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.

                 If additional space is needed, please attach a new page.


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                                                     Libby Hilsenrath, o/b/o her minor child, C.H.
Pursuant to Rule 26.1 and Third Circuit LAR 26.1,
makes the following disclosure:                                    (Name of Party)

              1) For non-governmental corporate parties please list all parent
corporations: Not applicable.


            2) For non-governmental corporate parties please list all publicly held
companies that hold 10% or more of the party’s stock:
Not applicable.




               3) If there is a publicly held corporation which is not a party to the
proceeding before this Court but which has as a financial interest in the outcome of the
proceeding, please identify all such parties and specify the nature of the financial
interest or interests:
 None known.




               4) In all bankruptcy appeals counsel for the debtor or trustee of the
bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the
members of the creditors’ committee or the top 20 unsecured creditors; and, 3) any
entity not named in the caption which is active participant in the bankruptcy proceeding.
If the debtor or trustee is not participating in the appeal, this information must be
provided by appellant.
Not applicable.




/s/ Richard Thompson                                 Dated:
                                                              11/28/2023
(Signature of Counsel or Party)


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                        STATEMENT OF JURISDICTION

      This case arises under the First and Fourteenth Amendments to the United

States Constitution and 42 U.S.C. § 1983. The district court possessed jurisdiction

pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3) & (4). See A40 (Pl.’s Compl.) The

district court had jurisdiction over Hilsenrath’s request for declaratory and injunctive

relief pursuant to 28 U.S.C. §§ 2201 and 2202.

      The district court first entered summary judgment in favor of the Defendants

on November 12, 2020, and Hilsenrath timely appealed. This Court possessed

jurisdiction pursuant to 28 U.S.C. § 1291. While the appeal was pending, the

Supreme Court decided Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407 (2022).

This Court then vacated the decision of the district court without reaching the merits

and remanded the case to the district court for further proceedings consistent with

Kennedy. A634. The district court ordered additional briefing from the parties and

again entered judgment for the Defendants on October 16, 2023. A1 (Supp. Op. on

Remand); A22 (Order). Hilsenrath filed a timely notice of appeal on November 13,

2023, and now seeks review of the final judgment of the district court which disposed

of all parties’ claims. A24 (Notice of Appeal). Accordingly, this Court possesses

subject-matter jurisdiction pursuant to 28 U.S.C. § 1291.




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                    STATEMENT OF ISSUES FOR REVIEW

1.    Does a public school violate the Establishment Clause when, as part of a

required course, it treats one religion more favorably than all others, calling it the

“true faith”, and requires seventh grade students, under threat of lower grades, to

view videos posted to the school’s Google Classroom that present religious opinion

as fact, that encourage Islamic prayer, and that include an explicit call for conversion,

or does the history and tradition of the United States support such conduct in public

schools? See A42, 50-66 (Pl. Compl.); A498-503 (Pl. Resp. in Opp. to Defs.’ Summ.

J.); A565-574 (Pl. Brief on Remand); A1 (Opinion on Remand).

2.    Did the Supreme Court in Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407

(2022), without ever expressly saying so and based on a “cipher” contained in a

footnote, create a new standard requiring public school students to prove they

suffered “significant coercion” and that their school coerced them to “participat[e]

in or adher[e] to a religious belief or practice” in order to demonstrate a violation of

the Establishment Clause? A13-18 (Opinion on Remand).

         STATEMENT OF RELATED CASES AND PROCEEDINGS

      This case was previously before the Third Circuit Court of Appeals.

Hilsenrath’s initial notice of appeal was filed on December 7, 2020, and the case was

assigned number 20-3474. A575 (Docket Entries). The parties completed briefing

and the Court heard oral argument on September 23, 2021. A582 (Oral Arg. Tr.).



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Before a decision was rendered, the Supreme Court decided Kennedy v. Bremerton

Sch. Dist., 142 S. Ct. 2407. Consequently, on July 20, 2022, the Third Circuit entered

an order vacating the district court’s judgment entered November 12, 2020, and

remanding the case to the district court for further consideration in light of the

Supreme Court’s Kennedy opinion. A634. The mandate issued on August 11, 2022.

A638.

                          STATEMENT OF THE CASE

        This case began during the 2016-2017, school year when Libby Hilsenrath’s

son, C.H. was a seventh grade student at Chatham Middle School and was enrolled

in the mandatory World Cultures and Geography (“WCG”) class. A326 (LaSusa

Dep. 42:5-11). The WCG class contained a unit dedicated to the Middle East and

North Africa (“MENA”) region. A326-327 (LaSusa Dep. 42:24-43:5). This class

utilized Google Classroom, an internet forum for schools to remotely present

information to students including documents, videos, and hyperlinks. A319 (LaSusa

Dep. 27:1-25). The material that was presented via Google Classroom was

considered equivalent to in-class instruction. A322 (LaSusa Dep. 30:14-20). The

syllabus for the seventh grade WCG course instructed that homework and classwork

comprise 10% of a student’s grade and that “completion of all assignments is

essential and expected in order to be successful in this course.” A440-441 (WCG

Syllabus). The syllabus also instructed “Google Classroom websites will contain



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important information including class calendars, handouts, assignment and project

directions, and grading guidelines. Students and parents are advised to use this

resource as the primary source of information about coursework.” A441.

Additionally, the study guide for the MENA unit test directed students to “Use slides

on Google Classroom to ensure you have all important information in your notes or

on the handouts!” A424 (MENA study guide).

      In January 2017, Hilsenrath asked C.H. if he had any homework and he replied

that he “had to watch a video and then take notes or do a worksheet.” A310 (C.H.

Dep. 36:1-4). Hilsenrath viewed the material posted on Google Classroom for C.H.’s

class. A288 (Hilsenrath Dep. 17:17-23). The WCG Google Classroom contained an

assignment directing C.H. to watch a video called Intro to Islam. A310 (C.H. Dep.

36:1-9); A416 (Generalizations Presentation). The written directions on Google

Classroom required students to watch the Intro to Islam video and “[a]s you’re

watching this video clip, write down words that describe Islam as presented by this

video.” A416 (Generalizations Presentation); A332-333 (LaSusa Dep. 48:21-49:10).

The Intro to Islam video is nearly five-minutes long and is filled with Islamic

religious tenets presented as statements of fact, including: “Allah is the one God;”

“[Allah] has no equal and is all powerful;” “Muhammad (peace be upon him) is the

last & final Messenger of God;” “God gave [Muhammad] the Noble Quran;” “[The

Quran is] [d]ivine revelation;” “[The Quran is a] Perfect guide for Humanity;” “The



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Noble Quran [is] Guidance, Mercy and Blessing for all mankind;” “The Noble

Quran[:] Guidance for the wise & sensible;” “Muslims created a tradition of

unsurpassable splendor;” and “Islam [is] [a] shining beacon against the darkness of

repression, segregation, intolerance and racism.” A335-339 (LaSusa Dep. 51:24—

55:8); A435 (Intro to Islam Video link); A521 (Pl. Statement of Material Fact

“SOMF” 53). The video also contains an excerpt from the Quran, the Islamic holy

book, stating that Islam is the perfected religion and the only religion for mankind.

A435 (Intro to Islam Video); A522 (Pl. SOMF 54). It concludes with a prayer for its

viewers to become members of the Islamic religion, stating “May God help us all

find the true faith, Islam, Ameen.” A435 (Intro to Islam Video); A299 (Hilsenrath

Dep., 130:5-7). Superintendent LaSusa testified that a school accomplishes its

educational mission by teaching factual information, and admitted that none of the

proselytizing statements in the Intro to Islam video are factual. A368-369, 335-339

(LaSusa Dep. 97:15-98:3; 51:10-55:8). Additionally, the video is set to an Arabic-

language musical version of the Islamic poem Qaseedah Burdah and includes a link

for students to download it. A435 (Intro to Islam Video); A33 (Pl. SOMF 56).

Although, C.H. does not speak Arabic and therefore did not realize the verses

described non-Muslims as “infidels” and praised Muhammad for slaughtering them,

he did recognize the sound of the music as “prayer music.” A55-56 (Compl. ¶ 62);

A314 (C.H. Dep. 61:6-25).



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      Google Classroom also contained an assignment directing C.H. to watch a

cartoon video about the five pillars of Islam (“Five Pillars video”). A524-525

(Statement of Fact 58); A308-310 (C.H. Dep. 34:7-35:1-36:9); A437 (Five Pillars

Video Link); A395, 397 (Five Pillars slides). The Five Pillars video depicts a

conversation between two children, Alex (a non-Muslim) and Yusef (a Muslim),

in which Yusef explains Islamic tenets, beliefs, and practices to Alex. A437 (Five

Pillars Video). Yusef states “Allah created everything” and instructs Alex in the

shahada, the Islamic conversion creed and prayer stating “[t]here is no God except

Allah and Prophet Muhammed is his messenger.” Id. Yusef explains the five

pillars of Islam to Alex, including the second pillar which requires Muslims to

pray five times a day. When Alex asks if it is hard to pray that often, Yusef

responds, “No, Not at all! We are praying to god. And when I remember that it is

god that keeps me healthy and keeps my heart beating it makes me want to pray.”

Id. The video shows Yusef’s heart beating. Alex looks down and sees his heart

beating as well, and smiles. Id. Yusef leaves to pray midday prayers and Alex looks

sad until Yusef returns and invites Alex to come with him. Id. Alex happily

accepts. The end of the video provides viewers with information and points of

contact to schedule a mosque tour. Id. Both videos were included in the WCG

online classroom as student assignments, but neither contained any form of

disclaimer indicating that these videos did not represent the views or opinions of



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Chatham School District, its teachers or board. Id.; A435 (Intro to Islam Video);

A373 (LaSusa Dep. 102:5-10).

      The WCG class also assigned students to complete a worksheet that required

C.H. to engage in a fill-in-the-blank written profession of the shahada (“shahada

worksheet”) the Islamic conversion creed and prayer, which stated: “There is no god

but [Allah] and [Muhammad] is his messenger.” A294-295 (Hilsenrath Dep. 76:12-

77:4); A418-420 (Intro to Islam Worksheet). This worksheet contained a hyperlink

directing C.H. to a website that recited the shahada and informed visitors that in

order to convert to Islam and become a Muslim all that is required is to recite the

shahada three times before a witness. A298-299 (Hilsenrath Dep. 129:17-130:4);

A526-528 (Pl. SOMF 67, 68). The WCG course did not address other religions in a

similar manner. It did not provide instructions on how to become a member of or

convert to any world religions except Islam, nor did the course describe any other

religion as the “true faith.” See A501-502 (Pl. Resp. in Opp’n).

      After seeing the proselytizing nature of the assignments that were given to her

seventh grader, Hilsenrath sought to have the videos removed by bringing her

concerns to the attention of the Social Studies Content Supervisor for the School

District, the Assistant Superintendent of Curriculum, the Superintendent, and the

Board of Education of the School District. Her request was denied. The School

Board confirmed their approval of the WCG course material at a public Board



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meeting and declined to vote to change the curriculum. A115 (Dep of Board Rep.

28:6-22). Thereafter, Hilsenrath filed her federal complaint on behalf of her minor

son C.H. on January 23, 2018, in the United States District Court for the District of

New Jersey. A40 (Compl.).

      District Court Proceedings

      Hilsenrath’s Complaint asserted one claim under 42 U.S.C. § 1983 against the

Chatham School District, School Board, Superintendent and other teachers and

administrators responsible for the WCG curriculum in their official capacities. A40,

63-67 (Compl.). Hilsenrath alleged that Defendants’ curriculum, in particular the

Intro to Islam and Five Pillars videos and shahada worksheet violate the

Establishment Clause of the First Amendment. Id. The Complaint sought a

declaratory judgment, permanent injunction prohibiting the Defendants from

“funding and implementing religious instruction that endorses Islam or that favors

Islam over other religions or non-religion” including the Intro to Islam and Five

Pillars videos, and nominal damages and attorneys’ fees. A67-68. After completing

discovery, each party moved for summary judgment.

      The district court first entered judgment in favor of Defendants on November

12, 2020, after granting Defendants’ motion for summary judgment and denying

Hilsenrath’s cross-motion. A535 (2020 Opinion). In doing so, the district court

credited the testimony of the seventh grade teacher, Ms. Jakowski, to find that neither



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the Intro to Islam video nor the Five Pillars video was played in class or assigned as

homework. A537-538, 540. This finding ignored Hilsenrath’s summary judgment

arguments and evidence to the contrary including the plain language of the slides on

Google Classroom, the deposition testimony of C.H., the language of the course

syllabus, the MENA study guide, and the testimony of multiple school officials that

material posted to Google Classroom was treated the same as in class work. A498-

503 (Pl Resp. in Opp’n); A440-441 (Syllabus); A424 (MENA test guide); A322

(LaSusa Dep. 30:14-24); A171-172 (Maher Dep. 30:12-22, 34:5-18) (“there is not

any difference between what a teacher distributes in a classroom and what a teacher

says in a classroom and what a teacher would post or write in Google Classroom in

the online environment”).

      The district court dismissed the claims against the individual defendants and

the School District finding that the School Board is the proper defendant and that

“Superintendent LaSusa’s involvement in the curricular decisions is a policy

sufficient to confer potential liability under Monell v. Department of Social Services,

436 U.S. 658 (1978).” A543 (2020 Opinion). In particular, the district court held that

“[f]ollowing Hilsenrath’s complaints, [LaSusa] along with others, reviewed the

materials and determined that they comported with the religious neutrality policy

and did not require removal; that determination represents the policy of the Board.”

A553. Hilsenrath does not challenge this portion of the district court’s opinion.



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      The district court did not address Hilsenrath’s claims regarding the School

Board’s failure to train its officials and employees related to the First Amendment or

the school’s religion policy after finding that Hilsenrath “has one clearly viable

Monell theory.” Id. at n. 11. The district court held that Hilsenrath had standing to

pursue a claim for nominal damages but lacked standing to pursue injunctive and

declaratory relief. A543.

      Finally, applying the three-part test found in Lemon v. Kurtzman, 403 U.S. 602

(1971) the district court held that “the seventh grade World Cultures curriculum and

materials do not violate the Establishment Clause.” A544. In particular, the district

court held that the curriculum treated “Islam equally with other religions” because

“[i]t is not a standalone course of study, but is part of a larger survey of world regions

and religions, so there is no impermissible favoritism.” A558. The district court did

not address Hilsenrath’s arguments and evidence that contradict such a finding

including that the WCG class did not provide excerpts from any sacred text except

the Islamic Quran and did not provide detailed instruction on the historical origins,

tenets, or beliefs of any world religion except Islam. A501-502 (Pl. Resp. in Opp’n).

Additionally, the lower court found that “[a]though the video-creator can be

perceived as believing those tenets [of Islam], neither the lesson, Ms. Jakowski, nor

even the video-creator invites or encourages the students to adopt those views.”

A559. This finding again fails to address Hilsenrath’s arguments and evidence



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establishing the contrary is true including the explicit language that concludes the

Intro to Islam video “May God help us all find the true faith, Islam. Ameen.” A498-

503 (Pl. Resp. in Opp’n).

      Hilsenrath’s First Appeal

      Hilsenrath appealed the district court’s November 12, 2020 decision, timely

filing notice of appeal on December 7, 2020. See A575. The parties completed

briefing and oral argument was held before a panel of the Third Circuit on September

23, 2021. A582 (Oral Arg. Tr.). Hilsenrath continued to argue that the religious

proselytizing videos at issue are not constitutionally appropriate material for a public

school to assign as part of a required seventh grade course. At oral argument, a judge

on the panel stated during questioning “the first video is a proselytizing video. We

can go through what it says . . . may God help us all find the true faith, Islam, on and

on. There are a multitude of these proselytizing statements in the first video.” A596

(Oral Arg. Tr. 15:14-19). Another panel judge dismissed the School Board’s

counsel’s contention that it was not unconstitutional to show these videos because

the content was not created by a Chathams teacher noting that “in Lee v. Weisman,

the teachers didn’t create anything . . . [here] we have something that’s curriculum

that’s proselytizing.” A597 (Oral Arg. Tr.16:5-11). Additionally, the School Board’s

counsel suggested during oral argument that “It wasn’t the teachers who were

proselytizing. The teachers were utilizing those statements of a third-party creator to



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teach a lesson about generalizations and to imbue critical thinking skills.” A602

(Oral Arg. Tr. 21:10-14). The appellate judge responded that this was a “thin reed to

be relying upon, that somebody else said it” and suggested that under this rubric, a

teacher could bring in a rabbi or a minster or priest as an expert to teach a lesson. Id.

(Oral Arg. Tr. 21:15-23).

      The appellate court was also unconvinced by counsel’s claim that C.H. was

not required to watch the videos, even though the PowerPoint slide specifically

directs students to watch the Intro to Islam video, stating, “it just feels like that’s a

bit of a stretch, counsel.” A608 (Oral Arg. Tr. 27:2-21). Additionally, the panel

recognized the significance of other religions not receiving equal treatment in the

WCG course questioning, “So, Judaism didn’t get equal time, neither did Wicca or

Christianity or any other religion that might have at some point touched on the

Middle East?” A598 (Oral Arg. Tr. 17:10-13).

      After oral argument, but before the panel issued its decision, the Supreme

Court issued its opinion in Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407 (2022),

abandoning the three-part test of Lemon v. Kurtzman, 403 U.S. 602, that had guided

the parties’ and the lower court’s legal analysis. Consequently, the Third Circuit

issued an order to show cause why the case should not be remanded. A619.

Hilsenrath responded and requested the Court proceed to an opinion on the merits.

A620. Instead, the Court vacated the district court’s November 2020 decision and



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remanded the case for further consideration in light of Kennedy. A634. After the

mandate issued, the district court directed additional briefing and each party

submitted a supplemental brief in support of their respective summary judgment

motions.

      District Court Proceedings on Remand

      On remand, Hilsenrath argued that looking to history and tradition as

Kennedy instructs confirms that Chathams School Board violated the

Establishment Clause when it presented non-factual and non-objective

proselytizing videos as part of its curriculum for a required seventh grade course,

which promoted the religion of Islam over all other religions. A570-571 (Pl. Supp.

Br.). Hilsenrath argued that “Kennedy underscored the fundamental demand of the

Establishment Clause that the government may not prefer one religion over another

and may not present information that encourages impressionable school children

to convert to a particular religion.” A572 (citing Kennedy, 142 S. Ct. at 2422).

Hilsenrath argued the instant case is unlike Kennedy, where the Supreme Court

found there was no coercion from Mr. Kennedy’s private prayer because he “did

not direct prayers to students or require anyone else to participate” rather he wanted

to “wait to pray until athletes were occupied.” A574. Conversely, Hilsenrath

argued, the instant case involved a captive audience of school children where

“proselytizing videos were posted to Google Classroom specifically so that



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students would watch them” and “[t]heir religious content was directed at seventh

grade public school students, who are legally required to attend school, and the

students were coerced to view these videos under threat of lower grades.” A574

(citing Lee v. Weisman, 505 U.S. 577, 605, n. 6 (1992)) (Blackmun, J., concurring)

(observing that “[a]s a practical matter . . . anytime the government endorses a

religious belief there will almost always be some pressure to conform”). Hilsenrath

argued “[t]he only reason C.H. watched the Intro to Islam or Five Pillars videos is

because the School directed him to watch them on Google Classroom for one of

his required classes and he reasonably believed he was required to watch them for

homework.” A569 (citing C.H. Dep. 35:20—36:4). Hilsenrath also analyzed

Supreme Court cases addressing history and tradition regarding the Court’s

interpretation of the Establishment Clause and argued that historical practices and

traditions do not permit a public school to use proselytizing material that favors

any one faith. See A570.

      On October 16, 2023, the district court entered a supplemental opinion on

remand and directed it “should be read, mutatis mutandis, against the backdrop of

the full discussion in [the district court’s] earlier decision.” A2 (Supp. Op.) The

district court again denied Hilsenrath’s motion for summary judgment and granted

Defendants’ cross-motion. The district court repeated its factual finding that the

seventh grade teacher did not play either video in class and the students were not



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required to watch them for homework, again ignoring Hilsenrath’s evidence and

arguments to the contrary. A4-5,7 (Supp. Op.); A566-570 (Pl. Supp. Br.).

      Relying on footnote 5 of the Kennedy opinion, the district court looked to

Justice Gorsuch’s concurrence in Shurtleff v. City of Boston, Massachusetts, 596 U.S.

243, 285 (2022) (Gorsuch, J., concurring) which discussed “telling traits” of

“founding-era religious establishments.” A13-14 (Supp. Op.) (citing Shurtleff, 596

U.S. at 285). From this, the district court concluded that Kennedy, “recognized

coercion to be ‘among the foremost hallmarks of religious establishments the

framers sought to prohibit when they adopted the First Amendment.’” A17 (quoting

Kennedy, 142 S. Ct. at 2429).

      The district court then determined that it would enter summary judgment for

Defendants because the record did not contain evidence of “significant coercion.”

Id. In so finding, the district court focused on C.H.’s deposition testimony wherein

the district court found C.H. did not feel coerced. Id. (citing C.H. Dep. 24:18-25:1,

40:8-24, 41:22-25). In the cited testimony, C.H. never discussed his feelings

regarding the videos. See A108-109, 305. The court ignored that C.H.’s deposition

was taken years after he viewed the videos for class. See A103 (C.H. Dep. 2)

(reflecting C.H.’s deposition was taken in 2019). Additionally, C.H.’s former

teachers, who were named defendants, were in the room sitting next to defense

counsel as C.H. was being questioned about their teaching. See A304-305, A107



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(C.H. Dep. 23:23—25:13). Nevertheless, the district court found “direct, subjective

evidence of coercion is lacking.” A17 (Supp. Op.). Further, the lower court stated:

“Unless and until the Third Circuit holds to the contrary, I continue to be guided by

its mandate, which I take to be consistent with Kennedy, that the reviewing court

‘look[] at whether the government is coerc[ing] anyone to support or participate in

religion or its exercise.’” Id. at n. 16 (quoting Borden v. Sch. Dist. of Twp. of E.

Brunswick, 523 F.3d 153, 175 n.18 (3d Cir. 2008)) (alterations in original); (citing

also C.N. v. Ridgewood Bd. Of Educ., 430 F.3d at 187).

      The district court rejected Hilsenrath’s summary judgment claims because

“[w]hile the students here were exposed to religious materials, there is no testimony

from any individual that he or she experienced pressure to support or participate in

the practice of any religion.” Id. This ignores that the only student deposed was C.H.,

and that the deposition took place two years after he had completed the seventh grade

and in the presence of his former teachers. The district court recognized “there is a

baseline level of coercion in all public education, irrespective of the subject matter”

but held “[t]he coercion relevant here, however, would be coerced participation in

or adherence to a religious belief or practice.” A18.

      The district court held, without any citation to the record, that “[r]eligion was

not taught as revealed truth, but rather as an important fact about the world.” A19.

This again ignores Hilsenrath’s arguments and evidence including the actual content



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and language in the videos, and testimony acknowledging there was no disclaimer

that the views expressed were not those of the school, its teachers, or board, and the

testimony of Superintendent LaSusa that none of the statements in the Intro to Islam

video were factual. The court then repeated the observation from its November 2020

opinion, that “[a]lthough the video-creator can be perceived as believing those

tenets, neither the lesson, Ms. Jakowski, nor even the video-creator invites or

encourages the students to adopt those views.” A19, n. 18. This again is contrary to

the explicit language in the Intro to Islam video praying “May God help us all find

the true faith, Islam, Ameen.” A299 (Hilsenrath Dep., 130:5-7); A435 (Intro to Islam

Video) and contrary to the content of the Five Pillars video that encourages Islamic

prayer and invites viewers to schedule a tour of a mosque. A437 (Five Pillars Video).

      The district court found that Hilsenrath’s argument that it is a violation of the

Establishment Clause for a public school to proselytize or to favor any one religion

over others, “fails on the facts, and has only grown weaker in light of Kennedy’s

newfound emphasis on coercion.” A20 (Supp. Op.). But despite the district court’s

insistence that Kennedy developed a new legal standard that requires proof of

“significant coercion” in Establishment Clause cases, the district court never addressed

Hilsenrath’s arguments and evidence showing coercion in that C.H. was required to

watch videos that encouraged conversion to Islam as part of a required course and

under threat of lower grades. A498-503 (Pl. Resp. Opp’n); A566-570 (Pl. Supp. Br.).



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      The district court repeated its November 2020 finding that the curriculum did

not promote Islam over other religions because it “is not a standalone course of

study” and included units and videos regarding other religions as well. A20. The

district court concluded, “[i]n sum, the curriculum and materials here were not

coercive and do not otherwise bear or resemble the ‘hallmarks of religious

establishments the framers sought to prohibit when they adopted the First

Amendment.’” A21. The district court entered its order granting Defendants’ motion

for summary judgment and denying Hilsenrath’s motion for summary judgment on

October 16, 2023. A22. Hilsenrath filed a timely notice of appeal. A24.

                        SUMMARY OF THE ARGUMENT

      Looking to history and tradition as Kennedy v. Bremerton requires, confirms

that a public school may not include in its curriculum videos that teach

impressionable school children that one religion is superior to all others. The district

court clearly erred by finding that the Intro to Islam and Five Pillars videos, which

describe Islam as the “true faith” and exhort twelve-year-old students to engage in

Islamic prayer and conversion and which explicitly pray “May God help us all find

the true faith, Islam” are not proselytizing and are appropriate curricular material for

public grade school. Chatham School Board’s decision to include this religious

recruitment material in its curriculum violated the Establishment Clause.




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        Additionally, Kennedy v. Bremerton, overruled the three-part test developed

in Lemon v. Kurtzman, 403 U.S. 602 (1971). It did not overrule Sch. Dist. of Abington

Twp. v. Schemmp, 374 U.S. 203, 225 (1963) (requiring the study of religion to be

“presented objectively as part of a secular program of education”) or Larson v.

Valente, 456 U.S. 228, 244 (1982) (acknowledging “[t]he clearest command of the

Establishment Clause is that one religious denomination cannot be officially

preferred over another”) or any of the numerous Supreme Court cases recognizing

the longstanding principle that the Establishment clause forbids government

favoritism of one religion over all others. See e.g. Everson v. Bd. of Educ., 330 U.S.

1, 15 (1947); Zorach v. Clauson, 343 U.S. 306, 313-314 (1952); Torcaso v. Watkins,

367 U.S. 488, 493, 495 (1961); Engel v. Vitale, 370 U.S. 421, 431 (1962); Epperson

v. Arkansas, 393 U.S. 97, 103-104, 106 (1968). Kennedy does not support the district

court’s requirement that a student show “significant coercion” nor does it hold that

the only way a public school can violate the Establishment Clause is by coercing a

student to “participat[e] in or adher[e] to a religious belief or practice.” A18 (Supp.

Op.).

        Moreover, to the extent coercion is now necessary to prove a violation of the

Establishment Clause, Hilsenrath submitted evidence showing coercion, which the

district court wrongly disregarded or wholly ignored. C.H. was required to complete

the WGC course and was required to complete all course work and assignments in



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order to be successful in the class; this included watching the Intro to Islam and Five

Pillars videos. The district court abandoned the standard for summary judgment

when it accepted the testimony of the seventh grade teacher that the videos were not

shown in class and were not required viewing, even though this testimony was

contrary to the written directions on the Google Classroom PowerPoint slides, the

testimony of C.H. that the videos were assigned as homework and one was shown

in class, the directions in the MENA study guide, and the directions in the course

syllabus. Additionally, Superintendent LaSusa testified that the statements contained

in the Intro to Islam video are not factual statements. That proselytizing videos,

which encouraged prayer and conversion, were required viewing and that religious

beliefs were presented as fact with no disclaimer that they did not represent the views

of the school – suffice as coercion under controlling Supreme Court case law. See

Sch. Dist. of Abington Twp., 374 U.S. at 221 (A claim under the Establishment Clause

“does not depend upon any showing of direct governmental compulsion”); Engel,

370 U.S. at 430-431 (“When the power, prestige and financial support of government

is placed behind a particular religious belief, the indirect coercive pressure upon

religious minorities to conform to the prevailing officially approved religion is

plain.”).

       History and tradition do not permit a public school to proselytize its students

or to teach religious belief as fact. Thus, the district court’s decision should be



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reversed and judgment should be entered in Hilsenrath’s favor awarding nominal

damages and attorney’s fees and declaring the Chatham School Board violated the

Establishment Clause.

                            STANDARD OF REVIEW

      This Court reviews the “disposition of a summary judgment motion de novo,

applying the same standard as the District Court.” Doe v. Luzerne Cnty., 660 F.3d

169, 174 (3d Cir. 2011) (citing Pichler v. Unite, 542 F.3d 380, 385 (3d Cir. 2008)).

“Under this standard, a court will ‘grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.’” Ramara, Inc. v. Westfield Ins. Co., 814 F.3d 660, 666

(3d Cir. 2016) (quoting Fed. R. Civ. P. 56(a)). Summary judgment must not be

entered where “the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      “On cross-motions for summary judgment, the court construes facts and draws

inferences in favor of the party against whom the motion under consideration is

made” and must not “weigh the evidence or make credibility determinations.”

Pichler, 542 F.3d at 386 (citations and internal quotation marks omitted). “Summary

judgment may not be granted . . . if there is a disagreement over what inferences can

be reasonably drawn from the facts even if the facts are undisputed.” Nathanson v.

Med. Coll. of Pa., 926 F.2d 1368, 1380 (3d Cir. 1991) (citation omitted). Further, the



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Court’s “review over constitutional issues is plenary.” United States v. One Toshiba

Color Television, 213 F.3d 147, 151 (3d Cir. 2000) (citation omitted). And because

this is a First Amendment case, this Court has a “duty to engage in a searching,

independent factual review of the full record.” United States v. Scarfo, 263 F.3d 80,

91 (3d Cir. 2001) (citations omitted).

                                   ARGUMENT

      The facts of this case have not changed since Hilsenrath’s initial appeal, but

the law has. The Supreme Court in Kennedy overruled the Lemon test and directed

parties and the lower courts to look to “historical practices and understandings” to

determine whether the government has violated the Establishment Clause. Kennedy,

142 S. Ct. at 2428 (citing Town of Greece v. Galloway, 572 U.S. 565, 576 (2014) and

Am. Legion v. Am. Humanist Ass’n, 139 S. Ct. 2067 (2019) (plurality opinion) (slip

op., at 25)). In doing so, the Court stressed “[a]n analysis focused on original

meaning and history . . . has long represented the rule rather than some ‘exception’

within the ‘Court’s Establishment Clause jurisprudence.’” Id. (quoting Town of

Greece, 572 U.S. at 575). Thus, although the Lemon test is no longer good law, cases

that are consistent with historical practices and understandings, including those

predating Lemon remain valid and binding. See e.g. Everson v. Bd. of Educ., 330

U.S. 1, 11, 15-16 (1947); Engel v. Vitale, 370 U.S. 421, 430-432 (1962); Sch. Dist.

of Abington, 374 U.S. at 225; Larson, 456 U.S. at 244.



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I.      KENNEDY DID NOT GRANT PERMISSION TO PUBLIC SCHOOLS
        TO   ENGAGE    IN   RELIGIOUS   INSTRUCTION    AND
        PROSELYTIZATION.

     Kennedy v. Bremerton, focused on the Free Exercise rights of school employees

to privately pray and held that “a proper understanding” of the Establishment Clause

does not “require the government to single out private religious speech for special

disfavor.” Kennedy, 142 S. Ct. at 2416. The Kennedy Court did not address the

Establishment Clause violation presented by this case—direct proselytizing by the

government. But the Court did condition its holding on the understanding that “none

of this means the speech rights of public school employees are so boundless that they

may deliver any message to anyone anytime they wish.” Id. at 2423. Thus, Kennedy

did not grant public schools permission to preach religion to students or to encourage

students to change their religious beliefs—whether through statements of school

employees or through presenting third party videos. See Lee v. Weisman, 505 U.S.

577, 587 (1992) (holding that a school official’s choice to allow a rabbi to say a non-

sectarian prayer “is a choice attributable to the State”). This much is absolutely clear

from reading the Kennedy case itself. Further, the critical recognition of the purpose

of the Establishment Clause, that government remain neutral in matters of religious

belief, predates and is independent of the analysis set forth in Lemon v. Kurtzman,

403 U.S. 602, and this bedrock principle remains unchanged after Lemon’s demise

in Kennedy.



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        A.    THE DIFFERENCES BETWEEN KENNEDY V. BREMERTON
              AND HILSENRATH’S CASE ILLUMINATE THAT THE
              CHATHAM SCHOOL BOARD’S VIOLATION OF THE
              ESTABLISHMENT CLAUSE WAS EGREGIOUS AND
              AVOIDABLE.

        In Kennedy, a high school football coach lost his job “because he knelt at

midfield after games to offer a quiet prayer of thanks.” Kennedy, 142 S. Ct. at

2415. Even though Mr. Kennedy offered his private prayers during a time when

school employees were free to attend to personal matters and when “students

were otherwise occupied” the Bremerton School District disciplined him

because they believed “anything less could lead a reasonable observer to

conclude (mistakenly) that it endorsed Mr. Kennedy’s religious beliefs.” Id. at

2415-16. The Supreme Court held the School District’s reasoning was misguided

and did not reflect a proper understanding of the Establishment Clause. Id. at

2416.

        The Court reversed the lower court’s decision and found Mr. Kennedy entitled

to summary judgment on his First Amendment claims because “a government entity

sought to punish an individual for engaging in a brief, quiet, personal religious

observance doubly protected by the Free Exercise and Free Speech Clauses of the

First Amendment.” Id. at 2433. This does not come close to describing the speech at

issue in Hilsenrath’s case, in which the Free Exercise and Free Speech Clauses are

not implicated. Here, the objectionable speech was not brief, quiet, or personal, but



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rather direct religious recruitment in the form of videos contained in required seventh

grade course curriculum.

             1. UNLIKE IN KENNEDY, THE SPEECH AT ISSUE IN
                HILSENRATH’S CASE IS INDISPUTABLY GOVERNMENT
                SPEECH.

      Crucial to the Supreme Court’s decision was its finding that Mr. Kennedy’s

prayers were private, not government, speech. Where “a public employee speaks

‘pursuant to [his or her] official duties,’” the speech is “for constitutional purposes

at least—the government’s own speech.” Id. at 2423 (quoting Garcetti v. Ceballos,

547 U.S. 410, 421 (2006)). The Court found Mr. Kennedy demonstrated his speech

was private because his prayers were not speech delivered in the ordinary scope of

his duties as a coach, nor was he “engaged in any other speech the District paid him

to produce as a coach.” Id. at 2424. Additionally, the Court found, “Mr. Kennedy

offered his prayers when students were engaged in other activities” and this “further

suggests that those prayers were not delivered as an address to the team, but instead

in his capacity as a private citizen.” Id. at 2425.

      Conversely, in Hilsenrath’s case, there is no dispute that the speech at issue

was government speech. The Intro to Islam and Five Pillars videos were assigned

and presented to students as part of PowerPoint presentations that were created by

Chatham teachers and posted to the school’s Google Classroom as part of a required

seventh grade course. This is speech “the government ‘itself had commissioned or



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created’ and speech the [teacher] employee was expected to deliver in the course of

carrying out [her] job.” See Kennedy, 142 S. Ct. at 2424 (quoting Garcetti, 547 U.S.

at 422). The videos were posted to Google Classroom specifically so that students

would watch them. The written directions on Google Classroom required students,

including C.H., to watch the Intro to Islam video and “[a]s you watch this video clip,

write down words that describe Islam as presented by this video.”                 A416

(Generalizations Presentation). And the material that was presented via Google

Classroom was considered equivalent to similar items presented to C.H. during in

class instruction. A381 (LaSusa Dep. 32:12-15), A171-172 (Maher Dep. 30:12-22,

34:5-18). C.H. was not presented with any information to counter the glowingly

positive portrayal of Islam as a problem-free religion in the Intro to Islam and Five

Pillars videos and the school did not attach a disclaimer that the content of the videos

did not represent the views of the school or should not be accepted as factual

information. A-373 (LaSusa Dep. 102:5-10).

    “There is a crucial difference between government speech endorsing religion,

which the Establishment Clause forbids, and private speech endorsing religion,

which the Free Speech and Free Exercise Clauses protect.” Capitol Square Review

& Advisory Bd. v. Pinette, 515 U.S. 753, 765 (1995) (plurality opinion) (emphasis in

original) (quoting Bd. of Educ. v. Mergens, 496 U.S. 226 (1990) (opinion of

O’Connor, J.). Here C.H.’s teacher did not present these religious recruitment videos



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to students as a private citizen, rather the speech at issue was indisputably

government speech that endorsed religion. No argument or evidence to the contrary

has ever been presented.

             2. UNLIKE IN KENNEDY, THE RELIGIOUS SPEECH AT
                ISSUE IN HILSENRATH’S CASE WAS DELIVERED TO A
                CAPTIVE AUDIENCE OF SEVENTH GRADE STUDENTS
                WHO WERE DIRECTED TO WATCH THE VIDEOS AS
                PART OF A REQUIRED COURSE AND UNDER THREAT OF
                LOWER GRADES.

      In its review of the Kennedy case, the Supreme Court emphasized that the

School District disciplined Mr. Kennedy “only for his decision to persist in praying

quietly without his players after three games in October 2015.” Kennedy, 142 S. Ct.

at 2422 (emphasis in original). The Court specified that the contested exercise under

review “does not involve leading prayers with the team or before any other captive

audience.” Id. The Supreme Court noted in its decision that although Mr. Kennedy

had previously prayed with his players, at the School District’s request, he

voluntarily ended his practice of offering locker room prayers and of incorporating

religious references or prayers in his postgame talks with players. Id. Had this

practice not ended, the Court’s review obviously would have looked quite different.

      The Kennedy Court cited Zorach v. Clauson, 343 U.S. 306 (1952) as support

for its decision wherein the Court rejected a challenge to a public school program

that permitted students to spend time off campus in private religious instruction

because it found that “students were not required to attend religious instruction and

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there was no evidence that any employee had ‘used their office to persuade or force

students’ to participate in religious activity.” Kennedy, 142 S. Ct. at 2431 (citing

Zorach, 343 U.S. at 311). Conversely in Hilsenrath’s case, the complaint is precisely

that students were required to attend religious instruction in the form of religious

recruitment videos that they were directed to watch as part of a required course. See

A508 (Pl. SOMF 36). Students knew they risked lower grades if they failed to watch

the videos because the WCG Course Syllabus described homework and classwork

as comprising 10% of a student’s grade and directed that “completion of all

assignments is essential and expected in order to be successful in this course.” A440-

441 (WCG Syllabus). The only reason C.H. watched the Intro to Islam or Five

Pillars videos is because he was required to check Google Classroom for

assignments and coursework and was thereby instructed to watch the videos for one

of his required classes. See A310 (C.H. Dep. 36:1-4). These factors created

impermissible coercion not present in Kennedy or Zorach.

      B.     THE DISTRICT COURT ERRED IN ITS INTERPRETATION
             OF WHAT IT DESCRIBES AS A “CIPHER” IN FOOTNOTE
             FIVE OF THE KENNEDY OPINION AS THE ENTIRETY OF
             THE CITED MATERIAL SUPPORTS HILSENRATH’S
             CLAIMS.

   The District Court wrongly interpreted footnote five of the Kennedy opinion as

being detrimental (if not fatal) to Hilsenrath’s claims, finding the WCG “curriculum

and materials do not present any of the ‘hallmarks’ associated with establishment of



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religion” alluded to in Kennedy. A20 (Supp. Op.). But reading each citation in its

entirety demonstrates that footnote five actually provides support for Hilsenrath’s

claims that the School Board’s decision to include proselytizing material in its

curriculum that favors Islam over all other religions violates the Establishment

Clause.

      The first citation in the footnote is to a portion of Justice Scalia’s dissent in

Lee v. Weisman. Kennedy, 142 S. Ct. at 2429 n. 5 (citing Lee, 505 U.S. at 640-642

(Scalia, J., dissenting)). In this section of the Lee opinion, Justice Scalia criticizes

the Court’s finding of what he describes as “peer-pressure” coercion in the context

of the Lee case and notes that “[t]he coercion that was a hallmark of historical

establishments of religion was coercion of religious orthodoxy and of financial

support by force of law and threat of penalty.” Lee, 505 U.S. at 640 (Scalia, J.

dissenting) (emphasis in original). But in denying Hilsenrath’s summary judgment

motion, the district court wrongly focused only on the first page of the Kennedy

Court’s citation. See A14, 18 (Supp. Op.). Critically, within the same cited passage,

Justice Scalia also concedes that:

      our constitutional tradition, from the Declaration of Independence and
      the first inaugural address of Washington . . . has, with a few aberrations
      . . . ruled out of order government-sponsored endorsement of religion
      – even when no legal coercion is present . . . where the endorsement is
      sectarian, in the sense of specifying details upon which men and women
      who believe in a benevolent, omnipotent Creator and Ruler of the World
      are known to differ (for example, the divinity of Christ).



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Lee, 505 U.S. at 641. This fundamental recognition is precisely what is at issue in

Hilsenrath’s case—government sponsored endorsement of Islam that specified

details upon which religious people are known to differ including “Allah is the one

God;” “[Allah] has no equal and is all powerful” and “Muhammad (Peace be upon

him) is the last & final Messenger of God.” A435 (Intro to Islam Video).

      Justice Scalia further stated in his dissent in Lee, that he saw “no warrant for

expanding the concept of coercion beyond acts backed by threat of penalty.” Lee,

505 U.S. at 642 (Scalia, J., dissenting). But here such an expansion is not necessary

since there was a threat of penalty in Hilsenrath’s case. C.H. was legally required to

attend school, was required to complete the WCG course as part of seventh grade,

and was required to view the Intro to Islam and Five Pillars videos that were posted

to the school’s Google Classroom page with the specific instructions “watch this

video” appearing above the Intro to Islam video link. See A416 (Generalization

Presentation); A395, 397 (Intro to Islam Presentation); A424 (MENA Study Guide);

A508, 511-516 (Pl. SOMF 36, 47-50). Students had been informed via the syllabus

that classwork and assignments consist of 10% of their grade and completion of all

assignments was necessary to be successful in the class. A440-441 (WCG Syllabus).

Consequently, C.H. only watched the videos at issue because he reasonably believed

he was required to do so or his grade could be lowered. See A519-521, 524-525 (Pl.

SOMF 52, 58).



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      Also significant is that later in his dissent in Lee, Justice Scalia reaffirms that

the Court has “made clear our understanding that school prayer occurs within a

framework in which legal coercion to attend school (i.e., coercion under threat of

penalty) provides the ultimate backdrop.” Id. at 643. This recognition further

supports Hilsenrath’s argument that, to the extent coercion is even necessary in an

Establishment Clause claim, it has been demonstrated here. See Engel, 370 U.S. at

430 (recognizing “[t]he Establishment Clause, unlike the Free Exercise Clause, does

not depend upon any showing of direct governmental compulsion”). Additionally,

noteworthy is that Justice Scalia’s dissent acknowledges the critical observation

stressed by the Court in Edwards v. Aguillard, 482 U.S. 578 (1987) that “[f]amilies

entrust public schools with the education of their children, but condition their trust

on the understanding that the classroom will not purposely be used to advance

religious views that may conflict with the private beliefs of the student and his or

her family.” Lee, 505 U.S. 643-644 (Scalia, J. dissenting) (quoting Edwards, 482

U.S. at 584). The Chatham School Board betrayed Hilsenrath’s trust by using

proselytizing videos in C.H.’s required seventh grade course to advance the religious

views of Islam which conflict with the private beliefs of C.H.’s family.

      Next in footnote five of the Kennedy opinion, Justice Gorsuch cites his own

concurring opinion in Shurtleff wherein he discusses “coercion and certain other

historical hallmarks of an established religion.” Kennedy, 142 S. Ct. at 2429 n. 5



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(citing Shurtleff, 596 U.S. at___ (Opinion of Gorsuch, J.) (slip op., at 10-13). In

Shurtleff, Justice Gorsuch recognized that America’s founders “resolved, each

individual would enjoy the right to make sense of his relationship with the divine,

speak freely about man’s place in creation, and have his religious practices treated

with respect.” Shurtleff, 142 S. Ct. at 1608 (Gorsuch, J., concurring) (citing West

Virginia Bd. of Ed. v. Barnette, 319 U.S. 624, 642 (1943)). It cannot be said that the

Chatham School Board treated its non-Muslim students’ religious practices with

respect by including in its required curriculum videos that teach religious belief as

fact and claim Islam is the perfected religion and the “true faith.”

      Additionally, Justice Gorsuch in Shurtleff criticized lower courts’ use of the

Lemon test and commented that the “abstract three-part test may seem a simpler and

tempting alternative” because “[b]y demanding a careful examination of the

Constitution’s original meaning, a proper application of the Establishment Clause no

doubt requires serious work and can pose its challenges.” Id. at 1609. Justice

Gorsuch then notes that “at least a partial remedy” to this problem is that “our

constitutional history contains some helpful hallmarks that localities and lower

courts can rely on.” Id. He does not suggest these “helpful hallmarks” are required

or that they will be evident in every violation of the Establishment Clause. The

district court cited these traits which include:

      (1) “the government exerted control over the doctrine and personnel of
      the established church;” (2) “the government mandated attendance in

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      the established church and punished people for failing to participate;”
      (3) “the government punished dissenting churches and individuals for
      their religious exercise;” (4) “the government restricted political
      participation by dissenters;” (5) “the government provided financial
      support for the established church, often in a way that preferred the
      established denomination over other churches;” and (6) “the
      government used the established church to carry out certain civil
      functions, often by giving the established church a monopoly over a
      specific function.”

A14 (Supp. Op.) (quoting Shurtleff, 596 U.S. at 285). The district court denied

Hilsenrath’s motion for summary judgment and granted the School Board’s motion

finding that these six examples are “the sole guides that Kennedy had furnished the

lower courts for the assessment of ‘coercion’ for purposes of an Establishment

Clause challenge in the context of public education” and they “do not fit the facts of

our case.” A21. But, an exact match to history is not required. Range v. AG United

States, 69 F. 4th 96, 103 (3d Cir. 2023) (en banc) (noting “[h]istorical tradition can

be established by analogical reasoning”). In other words, “when we draw on parallels

with the past to assess what is permissible in the present, we typically look to match

history in principle, not with precision.” Id. at 116-117 (Krause, J., dissenting).

      The second listed historical hallmark that “the government mandated

attendance in the established church and punished people for failing to participate,”

is analogous to the government mandating attendance in school and in C.H.’s case

mandating successful completion of the WCG course and punishing students for

failing to complete coursework or assignments, including viewing the Intro to Islam



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and Five Pillars videos, by lowering the student’s grade. Further, analogous to the

fifth historical hallmark listed by Justice Gorsuch, that “the government provided

financial support for the established church, often in a way that preferred the

established denomination over other churches” is that here, tax dollars fund public

education and by including proselytizing material in its curriculum for a required

course, which describes Islam as the “true faith”, encourages Islamic prayer, and

explicitly calls for students to convert to Islam, the Chatham School Board showed

impermissible preference for Islam over other religions. “As Thomas Jefferson, one

of the leading drafters and proponents of [the Religion] Clauses, wrote, ‘to compel

a man to furnish contributions of money for the propagation of opinions which he

disbelieves, is sinful and tyrannical.’” Carson v. Makin, 142 S. Ct. 1987, 2005 (2022)

(Breyer, J., dissenting) (quoting Everson, 330 U.S. at 13).

      Justice Gorsuch further notes that “Our Constitution was not designed to erase

religion from American life; it was designed to ensure ‘respect and tolerance.’”

Shurtleff, 142 S. Ct. at 1610 (Gorsuch, J., concurring) (quoting American Legion,

588 U.S. at __, 139 S. Ct. 2067). Applied to Hilsenrath’s case, respect and tolerance

are not demonstrated by subjecting impressionable seventh grade students who are

legally required to attend school to religious indoctrination videos that preach that

“Allah is the one God,” “[Allah] has no equal and is all powerful,” “Muhammad

(Peace be upon him) is the last & final Messenger of God”, the Quran is “[d]ivine



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revelation” a “Perfect guide for Humanity,” “Guidance, Mercy and Blessing for all

mankind” and that the “Beautiful Quran” provides “Guidance for the wise &

sensible” and that “Muslims created a tradition of unsurpassable splendor,” and

Islam is a “shining beacon against the darkness of repression, segregation,

intolerance and racism” and the one “true faith.” A435 (Intro to Islam video). Here,

the Chatham School Board showed disrespect for C.H.’s and his family’s religious

beliefs by flagrantly promoting the tenets of Islam as being superior to all other

religions and even providing instructions via a link on Google Classroom regarding

how to become Muslim.

      Next in footnote five, Justice Gorsuch cites a page from the Annals of

Congress wherein “Madison explain[ed] that the First Amendment aimed to prevent

one or multiple sects from ‘establish[ing] a religion to which they would compel

others to conform’” Kennedy, 142 S. Ct. at 2429 n. 5 (quoting 1 Annals of Cong.

730-731 (1789)). This clearly demonstrates the Founders’ pressing concern that the

government not show preference for one religion over others. And the Chatham

School Board’s decision to include religious recruitment videos that extol Islam

above all other faiths conflicts with this bedrock Establishment Clause principle.

      Lastly, Justice Gorsuch cites a law review article from Michael McConnell,

Establishment and Disestablishment at the Founding, Part I: Establishment of

Religion, 44 Wm. & Mary L. Rev. 2105, 2144-2146 (2003) (hereinafter



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“Establishment and Disestablishment”). The cited portion of the law review article

discusses the sometimes severe penalties colonists faced for failing to attend

religious services at established churches in the 1600s thru the early 1800s.

Establishment and Disestablishment, 44 Wm. & Mary L. Rev. at 2144-2145. While

true that C.H. and his classmates were not fined, whipped, or “condemned to the

Gallies” if they did not view the religious videos at issue, in citing this historical

record, Justice Gorsuch was certainly not implying such extreme coercion as existed

in the colonies four-hundred years ago is necessary to show an Establishment Clause

violation today. See Id. at 2144. If anything, what this cited material demonstrates is

that the Founders had obvious and significant motivation to prohibit their newly

formed government from being involved in any way with religion.

II.   HISTORICAL PRACTICES AND UNDERSTANDINGS DO NOT
      PERMIT A SCHOOL BOARD TO FAVOR ONE RELIGION BY
      INCLUDING PROSELYTIZING VIDEOS IN ITS CURRICULUM
      FOR A REQUIRED SEVENTH GRADE COURSE THAT DESCRIBE
      ISLAM AS THE “TRUE FAITH” AND ENCOURAGE ISLAMIC
      PRAYER AND CONVERSION.

      The most significant part of the Kennedy decision to the facts of Hilsenrath’s

case is its abandonment of the test established in Lemon v. Kurtzman, 403 U.S. 602

(1971) and corresponding instruction that the Establishment Clause of the First

Amendment must be interpreted by reference to historical practices and

understandings. Under this history and tradition analysis, it is clear that the

proselytizing videos at issue, which promote one religion over all others in public

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school curriculum, violates the Establishment Clause. See Sch. Dist. of Abington

Twp., 374 U.S. at 222 (recognizing history and purpose of the Establishment Clause

require government neutrality toward religion) see Marsh v. Chambers, 463 U.S.

783, 794-795 (1983) (legislative prayer may not be “exploited to proselytize or

advance any one, or to disparage any other, faith or belief”).

      It is not surprising that a direct historical example mirroring Hilsenrath’s case

cannot be found because “[i]n the colonial and early republican periods, there was

no such thing as public education in the modern sense.” Establishment and

Disestablishment, 44 Wm. & Mary L. Rev. at 2171. Rather, “education was

haphazard and informal” and “[t]here was little or no state involvement in finance

or control.” Id. And “[e]ven when the state became more involved, there was no

sharp distinction between public and private, religious and secular schools, until well

into the nineteenth century.” Id. It was not until the time of the Civil War that “most

northern and western states had established public school systems” and not until

Reconstruction were “rudimentary public school systems” created in the South. Id.

at 2174. Thus, “it is unlikely that the persons who drafted the First Amendment, or

the state legislators who ratified it, anticipated the problems of interaction of church

and state in the public schools.” Wallace v. Jaffree, 472 U.S. 38, 80 (1985)

(O’Connor, J. concurring) (citation omitted). “Even at the time of adoption of the

Fourteenth Amendment, education in Southern States was still primarily in private



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hands, and the movement toward free public schools supported by general taxation

had not taken hold.” Id. (citing Brown v. Board of Education, 347 U.S. 483, 489-490

(1954)).

   The Supreme Court has previously noted that the historical approach it used to

evaluate the Establishment Clause challenge Marsh v. Chambers was “not useful in

determining the proper roles of church and state in public schools, since free public

education was virtually nonexistent at the time the Constitution was adopted.”

Edwards, 482 U.S. at 583, n. 4 (citing Wallace, 472 U.S. at 80 (O’Connor, J.

concurring in judgment)). But, consistent with the instruction in Kennedy, the

general purposes of the Establishment Clause and the understandings of those who

drafted and ratified it are applicable and guide the Court’s history-based analysis.

See e.g., Sch. Dist. of Abington Twp., 374 U.S. at 232-242 (Brennan, J., concurring)

(evaluating practice of Bible reading in public school in the context of what the

Framers meant the Establishment Clause to prohibit).

      In determining that public school-sponsored daily Bible reading was

unconstitutional, Justice Brennan summarized that “the history which our prior

decisions have summoned to aid interpretation of the Establishment Clause permits

little doubt that its prohibition was designed comprehensively to prevent those

official involvements of religion which would tend to foster or discourage religious

worship or belief.” Id. at 234 (Brennan, J. concurring). Justice Brennan’s observation



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is fully applicable today and leaves little doubt that videos that encourage Islamic

prayer and exhort twelve-year-olds to convert to the religion may not be included in

public school curriculum consistent with the demands of the Constitution.

      Much of the “turmoil, civil strife, and persecutions” early American settlers

suffered was “generated in large part by established sects determined to maintain

their absolute political and religious supremacy.” Everson, 330 U.S. at 8-9.

Attempting to force loyalty to whatever religious group was favored by the

government, men and women were “fined, cast in jail, cruelly tortured, and killed”

for offenses such as “speaking disrespectfully of the views of ministers of

government-established churches, non-attendance at those churches, expressions of

non-belief in their doctrines, and failure to pay taxes and tithes to support them.” Id.

at 9. These practices “began to thrive in the soil of the new America.” Id. Prior to the

American Revolution, “religious establishments of differing denominations were

common throughout the Colonies.” Larson, 456 U.S. at 244 (citations omitted). “But

the Revolutionary generation emphatically disclaimed that European legacy, and

applied the logic of secular liberty to the condition of religion and the churches.” Id.

(citation and internal quotation marks omitted). “The history of governmentally

established religion, both in England and in this country, showed that whenever

government had allied itself with one particular form of religion, the inevitable result

had been that it had incurred the hatred, disrespect and even contempt of those who



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held contrary beliefs.” Engel, 370 U.S. at 431. “By the time of the adoption of the

Constitution, our history shows that there was a widespread awareness among many

Americans of the dangers of a union of Church and State.” Id. at 429.

“[D]isestablishment assumed the importance of religion, and left it free of

government control.” M. McConnell, Religion and Its Relation to Limited

Government, 33 Harv. J. L. & Pub. Pol’y 943, 948 (2010).

      Many early settlers came to America from Europe to escape religious

persecution and “laws which compelled them to support and attend government-

favored churches.” Everson, 330 U.S. at 8. Plainly, America’s Founders, who sought

to “escape the bondage of [such] laws”, Id., would not have condoned or tolerated

their children being taught, at a publicly funded school that they were required by

law to attend, that Islam (or any faith other than their own) is the “true faith.” Rather,

the Establishment Clause is “an expression of principle on the part of the Founders

of our Constitution that religion is too personal, too sacred, too holy, to permit its

‘unhallowed perversion’ by a civil magistrate.” Engel, 370 U.S. at 432 (quoting

Memorial and Remonstrance against Religious Assessments, II Writings of Madison

at 187)

      The Chatham School Board cannot point to any historical practice or

understanding that justifies its decision to approve in its curriculum non-objective

videos which present religious belief as fact and encourage students to convert to



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Islam.        A public school may not, consistent with the Establishment Clause,

encourage students to “find the true faith, Islam” A435 (Intro to Islam video); see

Walz v. Egg Harbor Twp. Bd. of Educ., 342 F.3d 271, 280 (3d Cir. 2003)

(“proselytizing speech . . . if permitted, would be at cross-purposes with [the

school’s] educational goal and could appear to bear the school’s seal of approval”).

         A.      THE DISTRICT COURT APPLIED A HIGHER BURDEN OF
                 PROOF THAN JUSTIFIED BY ANY PRECEDENT, WRONGLY
                 REQUIRING HILSENRATH TO PRODUCE EVIDENCE OF
                 “SIGNIFICANT COERCION.”

         The District Court wrongly granted the School Boards’ motion for summary

judgment after finding that “the record contains no evidence of significant coercion.”

A17 (Supp. Op. ). But Kennedy never set forth such a requirement. And the Supreme

Court has been clear prior to Kennedy that demonstrating the government has

engaged in impermissible religious coercion is sufficient, but not required, to

demonstrate a violation of the Establishment Clause. “The distinction between the

two [Religion] clauses is apparent—a violation of the Free Exercise Clause is

predicated on coercion while the Establishment Clause violation need not be so

attended.” Sch. Dist. of Abington Twp., 374 U.S. at 223; see Cnty. of Allegheny v.

ACLU, 492 U.S. 573, 628 (1989) (O’Connor J, concurring in part) (“To require a

showing of coercion, even indirect coercion, as an essential element of an

Establishment Clause violation would make the Free Exercise Clause a

redundancy.”)

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      The Kennedy Court addressed what it considered the School District’s

“backup argument” that the Establishment Clause concerns “trump Mr. Kennedy’s

free exercise and free speech rights” because if it had not suppressed Mr. Kennedy’s

religious activity “it would have been guilty of coercing students to pray” and

“coercing worship amounts to an Establishment Clause violation on anyone’s

account of the Clause’s original meaning.” Kennedy, 142 S. Ct. at 2428-2429. The

Court rejected this argument finding the evidence lacking.

      The Court recognized that its members have disagreed regarding “what

exactly qualifies as impermissible coercion in light of the original meaning of the

Establishment Clause.” Id. at 2429. (citations omitted). But it did not elaborate on

the proper understanding of coercion in light of the fact Mr. Kennedy’s private

religious exercise “did not come close to crossing any line one might imagine

separating protected private expression from impermissible government coercion.”

Id. The Court stated that “[i]n short, Mr. Kennedy did not seek to direct any prayers

to students or require anyone else to participate.” Id. at 2429. The Court addressed

the School District’s argument that coercion was present; it did not say that coercion

is necessary in all cases under the Establishment Clause nor did it define what

constitutes impermissible coercion.

   The district court in Hilsenrath’s case was persuaded that “[w]hile the students

here were exposed to religious materials, there is no testimony from any individual



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that he or she experienced pressure to support or participate in the practice of any

religion.” A17, n. 16. (Supp. Op.). In Borden v. Sch. Dist. of Twp. of E. Brunswick,

the Third Circuit applied the endorsement test to determine that a coach’s silent act

of bowing his head during student led prayer violated the Establishment Clause

because based on the coach’s history of praying with the team “a reasonable observer

would conclude that Borden was endorsing religion when he engaged in these acts.”

Borden v. Sch. Dist. of Twp. of E. Brunswick, 523 F.3d 153, 159 (3d Cir. 2008). In its

analysis, the Third Circuit discussed that “[t]he Supreme Court has set forth three

tests for determining whether governmental action violates the Establishment

Clause: the coercion test, the Lemon test, and the endorsement test.” Id. at 175 (citing

Modrovich v. Allegheny County, 385 F.3d 397, 400-01 (3d Cir. 2004)). The Third

Circuit did not address whether Borden’s conduct violated the Establishment Clause

under either the coercion or Lemon tests because it found the conduct violated the

endorsement test. Id. In footnotes, the Third Circuit described what would be

required under each of the tests it did not use. As to coercion, the Court stated: “[t]he

coercion test looks at whether the government is “coerc[ing] anyone to support or

participate in religion or its exercise . . . .” Id. at 175, n. 18. (quoting Lee, 505 U.S.

at 587(alterations in original)). Rather than recognizing this as a simple explanation

of a test the Court was not using, the district court in Hilsenrath’s case asserted it

was a “mandate” that was “consistent with Kennedy, that the reviewing court ‘look[]



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at whether the government is coerc[ing] anyone to support or participate in religion

or its exercise.’” A17, n.16 (Supp. Op.) (quoting Borden, 523 F.3d at 175 n. 18

(alterations in original)). Notably, the concurrence in Borden considers that “a non-

religious student or one who adheres to a minority religion might feel subtle (albeit

unintentional) coercion” and this “raises a serious Establishment Clause issue under

the Supreme Court’s ‘coercion’ test.” Borden, 523 F.3d at 181 (McKee, J.,

concurring).

      Contrary to the district court’s interpretation, the Supreme Court has not

required students to show they were subject to significant coercion or that they were

compelled or required to participate in a religious activity to demonstrate a violation

of the Establishment Clause. See e.g. Sch. Dist. of Abington Twp., 374 U.S. 203

(daily reading of Bible verses held unconstitutional even where students could be

excused); Engel, 370 U.S. at 430 (nonmandatory recitation of one-sentence prayer

held unconstitutional). Nor has the Supreme Court required coercion to be explicit.

See, e.g., Santa Fe Indep. Sch. Dist. v. Doe, 530 U.S. 290, 312 (2000) (“the

government may no more use social pressure to enforce orthodoxy than it may use

more direct means”). Rather, the Court has recognized that “there are heightened

concerns with protecting freedom of conscience from subtle coercive pressure in the

elementary and secondary public schools.” Lee, 505 U.S. at 592. “When the power,

prestige and financial support of government is placed behind a particular religious



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belief, the indirect coercive pressure upon religious minorities to conform to the

prevailing officially approved religion is plain.” Engel, 370 U.S. at 431.

      The Establishment Clause forbids public schools from “conveying or

attempting to convey a message that religion or a particular religious belief is favored

or preferred.” Lee, 505 U.S. at 604-605 (Blackmun, J. concurring) (quoting County

of Allegheny, 492 U.S. at 593 (1989) (emphasis in original)). This is so “even if the

schools do not actually ‘impose pressure upon a student to participate in a religious

activity.’” Id. (quoting Board of Ed. Of Westside Community Schools (Dist 66) v.

Mergens, 496 U.S. 226, 261 (1990) (Kennedy, J., concurring in part and concurring

in judgment)).

      As reflected upon by Justice Sotomayor in her dissent in Kennedy, “none of

this Court’s major cases involving school prayer concerned school practices that

required students to do any more than listen silently to prayers, and some did not

even formally require students to listen, instead providing that attendance was not

mandatory.” Kennedy, 142 S. Ct. at 2451 (Sotomayor, J. dissenting) (emphasis in

original) (citing Santa Fe, 530 U.S. at 296-298; Lee, 505 U.S. at 593; Wallace, 472

U.S. at 40; School Dist. of Abington Township, 374 U.S. at 205; Engel, 370 U.S. at

422) Yet the Supreme Court concluded in the cases cited above “that the practices

were coercive as a constitutional matter.” Id.




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      The role of the government in public schools is different than in other contexts

because “[t]he State exerts great authority and coercive power” in schools “through

mandatory attendance requirements.” Edwards, 482 U.S. at 584. And children are

more susceptible to “subtle coercive pressure” than adults. Lee, 505 U.S. at 588;

Town of Greece, 572 U.S. at 590 (recognizing that “mature adults,” unlike children,

may not be “readily susceptible to religious indoctrination or peer pressure”). The

district court’s requirement that Hilsenrath provide evidence of “significant

coercion” cannot be justified under controlling Supreme Court precedent.

             1. Hilsenrath Pled Facts Showing Coercion And the District Court
                Committed Clear Error By Ignoring or Disregarding Them.

      The School Board’s decision to include religious recruitment videos in its

curriculum for a required course, coupled with the directions on Google Classroom

instructing students to watch the videos and the syllabus instructions that their grade

would be negatively impacted if they did not complete all assignments and

classwork, demonstrates coercion. The district court’s factual finding that the

seventh grade teacher did not play either video in class and the students were not

required to watch them for homework, wrongly ignores Hilsenrath’s evidence and

arguments to the contrary. A4-5, 7 (Supp. Op.); A566-570 (Pl. Supp. Br.). Further,

this is contrary to the standard for summary judgment which forbids courts from

weighing evidence. See Pichler, 542 F.3d at 386. C.H. testified that he watched the

videos as part of his homework A310 (C.H. Dep. 36:1-9) and that the Five Pillars

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video was shown in class A308 (C.H. Dep. 34:7-16). The written directions on the

PowerPoint slides direct students to “[w]atch this video” and “[a]s you watch this

video clip, write down words that describe Islam as presented by this video.” A416

(Generalizations Presentation); A332, 333 (LaSusa Dep. 48:21-25, 49:1-10). Thus,

it is imminently reasonable for C.H. to believe he was required to watch the Intro to

Islam and Five Pillars videos.

        Additionally, the district court’s finding that “C.H. expressly testified that he

never felt coerced” does not accurately reflect C.H.’s testimony. See A17 (Supp.

Op.). The pages of C.H.’s deposition that the district court cite describe that the

School Board’s counsel points to Ms. Jakowski and Ms. Keown, C.H.’s former

seventh grade teachers, and asks C.H. whether either of them ever told him to

“convert to Islam” and if he felt “pressured to convert to Islam in their class.” A305,

A107-109 (C.H. Dep. 24:1-25:1, 40:8-24, 41:22-25). That C.H. answered “no”

hardly demonstrates that the WCG curriculum, particularly the religious

indoctrination videos at issue, were non-coercive. The district court also relies on

the fact that no “other student testif[ied] that he or she experienced the course

material as coercive.” A17 (Supp. Op.). But no other students ever testified in the

case.

        Further, the district court wrongly asserts that “[i]n his deposition, C.H.

testified that he did not remember much about this video, and did not recall feeling



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coerced.” A6 (Supp. Op.) (citing C.H. Dep. At 24:24-25:1, 37:3-11). But other than

not being able to recount much about the video, which is not surprising two years

after watching it, the remainder of the district court’s finding is not supported by the

cited testimony. There is no testimony cited regarding C.H.’s feelings about the

videos.

      Additionally, the district court recognized that the PowerPoint and the

worksheet that required students to complete the shahada, the Islamic statement of

faith, each contained a link to a webpage describing the shahada. A6 n.8. (Supp.

Op.). The website stated “‘anyone who cannot recite [the shahada] wholeheartedly

is not a Muslim’ and ‘[r]eciting this statement three times in front of a witness is all

that anyone need do to become a Muslim.’” A6-7, n.8 (Supp Op.) (citation omitted).

The district court surmised, however, that because C.H. completed the worksheet by

hand “there is no indication that he would or could have clicked on such a link.” Id.

But this ignores that the PowerPoint and worksheet were posted to Google

Classroom, which is how Hilsenrath was able to click on the links. Students and

parents were advised to use Google Classroom as “the primary source of

information” for the WCG course. A441 (WCG Syllabus). Consequently, contrary

to the district court’s finding, there certainly is an indication that students could click

on these links.




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III.   HISTORICAL PRACTICES AND UNDERSTANDINGS FORBID THE
       GOVERNMENT FROM FAVORING ONE RELIGION OVER ALL
       OTHERS.

       In Everson, the Supreme Court recognized that the Establishment Clause was

incorporated and applies to the States via the Fourteenth Amendment. Am. Legion,

139 S. Ct. at 2080 (citing Everson, 330 U.S. 1). And since Everson, the Supreme

Court “has adhered to the principle, clearly manifested in the history and logic of the

Establishment Clause, that no State can ‘pass laws which aid one religion’ or that

‘prefer one religion over another.’” Larson, 456 U.S. at 246 (quoting Everson, 330

U.S. at 15). Further, the Court has clearly and unequivocally recognized that “the

State may not adopt programs or practices in its public schools or colleges which

‘aid or oppose’ any religion” and this absolute prohibition forbids “the preference of

a religious doctrine.” Epperson, 393 U.S. at 106-107 (citing Abington School

District, 374 U.S. at 225; Id. at 103-104 (recognizing government must be “neutral

in matters of religious theory, doctrine, and practice” and “may not aid, foster, or

promote one religion or religious theory against another”).

       Kennedy did not alter the fundamental demand of the Establishment Clause

that the government not prefer one religion over another and not present information

that encourages impressionable school children to convert to a particular religion.

See Kennedy, 142 S. Ct. at 2422 (differentiating the case from one involving prayer

with students or before a captive audience); Lee, 505 U.S. at 590 (“the central



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meaning of the Religion Clauses of the First Amendment . . . is that all creeds must

be tolerated and none favored); Santa Fe Indep. School Dist., 530 U.S. at 309

(finding “[s]chool sponsorship of a religious message” impermissible under the

Establishment Clause). Rather, “preservation and transmission of religious beliefs

and worship is a responsibility and a choice committed to the private sphere.” Id. at

310 (quoting Lee, 505 U.S. at 589). “The government must be neutral when it comes

to competition between sects” and it “may not finance religious groups nor undertake

religious instruction nor blend secular and sectarian education nor use secular

institutions to force one or some religion on any person.” Zorach, 343 U.S. at 314.

      “The clearest command of the Establishment Clause is that one religious

denomination cannot be officially preferred over another.” Larson, 456 U.S. at 244.

Kennedy did not alter this bedrock principle and its instruction that the Establishment

Clause must be interpreted by “reference to historical practices and understandings”

only confirms its continuing validity. The Court cites Town of Greece, 572 U.S. at

576 and American Legion, 139 S. Ct. 2067 as support for its historical requirement.

Significantly, in the Court’s legislative prayer cases, the Court not only recognized

the historical and traditional foundations of legislative prayer, it also recognized that

legislative prayer does not involve an attempt to proselytize, to advance one religion

over others, or to coerce an unwilling or impressionable audience to engage in

religious observance. Town of Greece, 572 U.S. at 581-583, 590; Marsh, 463 U.S. at



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792, 794-795. The same is not true regarding the Chatham School Board’s decision

to include videos in its curriculum for a required seventh grade class that claim the

Quran is a “perfect guide for Humanity,” that “Muslims created a tradition of

unsurpassable splendor,” that contain excerpts from the Quran, the Islamic holy

book, stating Islam is the perfected religion and the only religion for mankind and

that pray “May God help us all find the true faith, Islam. Ameen.” A435 (Intro to

Islam video). There was no context or disclaimer presented with either the Intro to

Islam or Five Pillars videos to suggest they were not to be accepted as fact. And no

other religion was treated in the same manner. See A530-532 (Pl. SOMF 71-74).

      The district court’s finding that Islam was not favored because it was not a

“standalone course of study” and included similar units on Hinduism and Buddhism,

ignores the actual content of the religious recruitment videos, the fact that the

Hinduism and Buddhism videos were factual and not proselytizing, and that no other

religions were addressed in the same manner. Judaism and Christianity were not

covered at all in the MENA portion of the WCG course despite their importance in

the region. A59-60 (Pl. Compl. ¶81); A81 (Def. Answer ¶81). Presenting non-factual

and non-objective material to public grade school students as part of a required

course aided the religion of Islam to the exclusion of all other religions. The School

Board has never provided any context that could transform blatantly proselytizing

statements or explicit calls for conversion into appropriate curricular material for a



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public school seventh grade class. There is no logical connection between a school

lesson supposedly teaching “generalizations” and a video that teaches “Allah is the

one God” and that ends with a prayer for all to “find the true faith, Islam.” A435

(Intro to Islam video); See A335-339 (LaSusa Dep. 51:24-55:8).

   The Supreme Court has emphasized that the study of religion or religious texts

must be presented objectively as part of a secular program of education to be

consistent with the First Amendment. Sch. Dist. of Abington Twp., 374 U.S. at 225

(noting the “study of the Bible or of religion, when presented objectively as part of

a secular program of education” may be “effected consistently with the First

Amendment”). The Intro to Islam and Five Pillars videos are far from objective,

rather, they seek to recruit followers to the religion. The Intro to Islam video extolls

Islam, describing the Quran as the “perfect guide for humanity,” that the Quran

guides the “wise and sensible” and crediting Muslims with creating “a tradition of

unsurpassable splendor, among other things. Religious imagery including text from

the Quran and Muslim prayers is shown while the Qaseedah Burdah, which C.H.

recognized as “prayer music” plays in the background. A314 (C.H. Dep. 61:22-25).

Although the district court seemed to dismiss the religious music as irrelevant

because the Qaseedah Burdah is being sung in Arabic and C.H. does not speak

Arabic, the fact that the lyrics describe non-Muslims as infidels and contain verses

praising Muhammad for slaughtering them, is relevant to recognizing the



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proselytizing intent of the video. See A55-56 (Compl. ¶62). The video’s creator

almost certainly did understand the significance of the lyrics when choosing the

music for the video and when providing links for viewers to download the song. The

video’s content makes clear that its purpose is to praise Islam and recruit followers

to the Islamic faith, while treating other religions as inferior and their followers as

“infidels.” See A425-433 (Qaseedah Burdah with English Translation).

      Kennedy’s direction to interpret the Establishment Clause by reference to

historical practices and understandings obliges this Court to find the Chatham

School Board violated the Establishment Clause by including the proselytizing

videos at issue, which extol Islam and promote it over all other religions, in its

public school curriculum. There is no historical practice or understanding that

permits such blatant religious recruitment as part of public school curriculum.

      Accordingly, this Court should reverse the erroneous decision of the District

Court and remand the case for an appropriate judgment in Hilsenrath’s favor.

                                  CONCLUSION

   For the foregoing reasons, Plaintiff-Appellant Libby Hilsenrath respectfully

requests that this Court reverse the decision of the district court and remand the case

for entry of an appropriate judgment finding that Defendant-Appellee School Board

violated C.H.’s rights under the Establishment Clause and awarding C.H. nominal

damages and attorney’s fees.



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Dated: March 12, 2024

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                           COMBINED CERTIFICATIONS

      I, the undersigned, hereby certify the following:

      1.     That I am a member of the Bar of the United States Court of Appeals

for the Third Circuit.

      2.     This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because it contains 12,959 words excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

      3.     This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionally spaced typeface using Microsoft Word in 14 point

Times New Roman.

      4.     That the text of the electronic and paper versions of the foregoing brief

are identical.

      5.     That a virus check was performed on this brief using Avast Antivirus

Software, and that no virus was indicated.

      6.     That, on March 12, 2024, I caused the foregoing to be filed with the

Clerk of Court using the CM/ECF System, which will send notice of such filing to all

registered users.

                                              Respectfully submitted,
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                                              In The

             United States Court Of Appeals
                              For The Third Circuit
                                   LIBBY HILSENRATH,
                              on behalf of her minor child, C.H.,
                                                                       Appellant,

                                                  v.

                       SCHOOL DISTRICT OF THE CHATHAMS;
    BOARD OF EDUCATION OF THE SCHOOL DISTRICT OF THE CHATHAMS;
         MICHAEL LASUSA, In his official capacity as the Superintendent of the
       School District of Chathams; KAREN CHASE, In her official capacity as the
              Assistant Superintendent of Curriculum and Instruction at the
     School District of the Chathams; JILL GIHORSKI, In her official capacity as the
     Principal of Chatham Middle School; STEVEN MAHER, In his official capacity
        as the Supervisor of Social Studies for the School District of the Chathams;
         MEGAN KEOWN, In her official capacity as a Social Studies teacher for
     Chatham Middle School; CHRISTINE JAKOWSKI, In her official capacity as a
                     Social Studies teacher for Chatham Middle School.
                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                 ________________________

                               JOINT APPENDIX – Volume I of III
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                                 ________________________

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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 LIBBY HILSENRATH, on behalf of
 her minor child, C.H.,

       Plaintiff,
                                                  Civ. No. 18-00966 (KM) (MAH)
       v.

 SCHOOL DISTRICT OF THE                            SUPPLEMENTAL OPINION
 CHATHAMS, BOARD OF EDUCATION                           ON REMAND
 OF THE SCHOOL DISTRICT OF THE
 CHATHAMS, MICHAEL LASUSA,
 KAREN CHASE, JILL GIHORSKI,
 STEVEN MAHER, MEGAN KEOWN,
 and CHRISTINE JAKOWSKI,

       Defendants.


 KEVIN MCNULTY, U.S.D.J.:
       This case is an Establishment Clause challenge brought by Libby
 Hilsenrath on behalf of her son, C.H., 1 to instruction about Islam in C.H.’s
 seventh-grade World Cultures and Geography course in the Chatham public
 schools. On November 12, 2020, this Court granted Defendants’ motion for
 summary judgment and denied Hilsenrath’s cross-motion for summary
 judgment, holding as follows:
       (1) Hilsenrath has standing to pursue a claim for nominal damages, but
 not for prospective injunctive or declaratory relief;
       (2) the School Board for the School District of the District of the
 Chathams (the “Board”) is a proper defendant, and Superintendent LaSusa’s
 involvement in the curricular decisions is sufficient to trigger potential liability
 under Monell v. Department of Social Services, 436 U.S. 658 (1978);



 1     The identity of C.H., the minor child on whose behalf Ms. Hilsenrath sues, is
 properly anonymized.

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       (3) the claims against the individual defendants and the School District
 of the Chathams (the “District”) must be dismissed; and
       (4) the seventh-grade World Cultures and Geography curriculum and
 materials did not violate the Establishment Clause.
       On July 20, 2022, following an appeal by Hilsenrath, the Third Circuit
 vacated this Court’s judgment and remanded the case “for further
 consideration in light of the Supreme Court’s opinion in Kennedy v. Bremerton
 Sch. Dist., 142 S. Ct. 2407 (June 27, 2022).” (DE 87.) That case, decided after I
 rendered my decision, bears on the proper test that should be applied in
 analyzing Hilsenrath’s Establishment Clause claims.
       Again before the Court on remand are Defendants’ motion for summary
 judgment (DE 62) and Hilsenrath’s cross-motion for summary judgment
 (DE 63). At the Court’s invitation, each side filed a supplemental brief on
 remand. (DE 99, 100 (as corrected).) What follows amounts to an amendment
 of my prior decision, revised in accordance with Kennedy v. Bremerton and the
 parties’ supplemental briefing. It should be read, mutatis mutandis, against the
 backdrop of the fuller discussion in my earlier decision. For the following
 reasons, Defendants’ motion for summary judgment is again GRANTED, and
 Hilsenrath’s motion for summary judgment is DENIED. 2


 2      My previous Opinion’s prefatory note regarding the delicate nature of the issues
 raised by this case bears repeating here:
              This well-framed case presented sensitive issues requiring
              factual inquiry and . . . [n]o one’s educational, ideological, or
              religious priors were sufficient to decide it. I understand well
              the strong feelings that accompany such issues and claims.
              I do not dismiss the plaintiff’s concerns, and I am by no
              means unsympathetic with parents’ desire to control their
              children’s exposure to religious indoctrination. I am also
              acutely aware that this is public, not parochial, education.
              Religion, however, is a fact about the world, and no study of
              geography and cultures is complete without it. There is, to
              be sure, a line to be drawn between teaching about religion
              and teaching religion. On this record, I must conclude that
              the school did not cross that line.
 (500 F. Supp. 3d at 277–78, SJ Op. at 2.)

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       BACKGROUND 3
       A. Facts
                  The World Cultures and Geography Course
       During the 2016–2017 school year, C.H. was a seventh-grade student at
 Chatham Middle School, in the School District of the Chathams. He was




 3     Certain citations to the record are abbreviated as follows:
             DE = Docket entry number in this case
             Compl. = Complaint (DE 1)
             Def. SMF = Defendants’ Statement of Material Facts (DE 62-2)
             C.H. Dep. = C.H. Deposition Transcript, Exhibit F to Defendants’ Motion
             for Summary Judgment (DE 62-10)
             Jakowski Dep. = Christine Jakowski Deposition Transcript, Exhibit Y to
             Defendants’ Motion for Summary Judgment (DE 62-29)
             LaSusa Dep. = Michael LaSusa Deposition Transcript, Exhibit K to
             Defendants’ Motion for Summary Judgment (62-15)
             Weber Dep. = Jill Weber Deposition Transcript, Exhibit I to Defendants’
             Motion for Summary Judgment (DE 62-13)
             Video 1 = Introduction to Islam Video, Exhibit 17 to Plaintiff’s Motion for
             Summary Judgment, https://www.youtube.com/watch?v=ZHujiWd49l4
             (DE 63-18)
             Video 2 = 5 Pillars of Islam Video, Exhibit 18 to Plaintiff’s Motion for
             Summary Judgment, https://www.youtube.com/watch?v=ikVGwzVg48c
             (DE 63-19)
             Worksheet = Introduction to Islam Worksheet, Exhibit PP to Defendants’
             Motion for Summary Judgment (DE 62-46)
             SJ Op. = November 20, 2020 Opinion granting Defendants’ motion for
             summary judgment and denying Plaintiff’s cross-motion for summary
             judgment (DE 82). The published version of this Opinion can be found at
             Hilsenrath on behalf of C.H. v. Sch. Dist. of Chathams, 500 F. Supp. 3d
             272 (D.N.J. 2020).
             Pl. Br. = Plaintiff’s Supplemental Brief in Support of Summary Judgment
             after the Third Circuit’s Order to Vacate and Remand (DE 99)
             Def. Br. = Supplemental Brief in Further Support of Defendants’ Motion
             for Summary Judgment on Remand from the Third Circuit (DE 100)


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 enrolled in a mandatory course called World Cultures and Geography, taught
 by defendants Megan Keown and Christine Jakowski. (Def. SMF ¶¶ 96–98,
 125.) 4 The aim of the course was to “develop[] a broad understanding of the
 world and its people” so that “students will become active and informed global
 citizens.” (DE 62-36 at 1.) To that end, the course devoted a unit of study to
 each of the world’s major geographic regions. (Id.) As part of the study of each
 region, students learned about the religions commonly practiced in each. (See,
 e.g., id.; DE 62-39.)
       One unit was devoted to the Middle East and North Africa (“MENA”). As
 part of that unit, students learned about Islam, the religion that is prevalent in
 that region and is a central component of many of those countries’
 governments, laws, and cultures. 5 (DE 62-41.) This particular unit comprised
 nine lessons. Most covered geography and current events, but two of the nine
 focused on Islam. (Id.)
                         (a)   Introduction to Islam Video
       The first lesson was aimed at teaching students about the general
 attributes of the Islamic faith. (Id. at 2.) Ms. Jakowski presented a PowerPoint,
 a copy of which was posted on Google Classroom, an online platform for
 teachers to post course materials for their students. (Jakowski Dep. at 29:8–
 18.) The last of the PowerPoint slides asked students to write down words they
 associated with Islam, to watch a linked video introducing students to Islam
 (“Video 1”), and then to discuss what generalizations they could make after
 watching the video and consider whether those generalizations were valid. (DE
 62-42 at 11.) However, Ms. Jakowski did not play Video 1 in class and


 4      Ms. Keown prepared the syllabus for the class and taught until November 2016,
 when she went on maternity leave. Ms. Jakowski replaced her and taught the unit at
 issue. (Def. SMF ¶¶ 96–98.)
 5      To put it another way, these students are citizens of a country which prohibits
 establishment of an official religion, but in this unit they were studying countries
 which emphatically do not. It is impossible to study the government and culture of, for
 example, the Islamic Republic of Iran while avoiding exposure to the tenets of Islam.


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 students were not required to watch it as homework. (Jakowski Dep. at 30:21–
 31:1, 36:4–6, 45:11–19.) Nonetheless, C.H., with his mother, did access the
 presentation and Video 1 from Google Classroom and watched it at home. (C.H.
 Dep. at 35:23–36:9.) 6
          Video 1 is a five-minute introduction to Islam. The video scrolls through
 pictures of Middle Eastern and North African peoples, Islamic art, and Muslim
 sites, with singing in the background. 7 Interspersed with these images for the
 first half of the video are slides of text asking and answering questions about
 Islam:
     •   “What is Islam? . . . Faith of divine guidance for Humanity, based on
         peace, spirituality and the oneness of God[.]” (Video 1 at 0:17.)
     •   “Who is Allah? Allah is the one God who created the heavens and the
         earth, who has no equal and is all powerful[.]” (Id. at 0:29.)
     •   “Who is Muhammed (S)? Muhammed (Peace be upon him) is the last &
         final Messenger of God. God gave him the Noble Quran[.]” (Id. at 1:01.)
     •    “What is the Noble Quran? Divine revelation sent to Muhammed (S) last
          Prophet of Allah. A Perfect guide for Humanity[.]” (Id. at 1:38.)
     •   “What does history say about Islam? Muslims created a tradition of
         unsurpassable splendor, scientific thought and timeless art[.]” (Id. at
          2:10.)
          Around the two-minute mark, the video begins to focus less on Islam as
 a religion per se, and more on the achievements of Islamic civilization. (Id. at


 6      A study guide for the MENA unit advised students that the test would be open
 note, that their notes should include “general knowledge about [Islam] and 5 Pillars,”
 and that they should “[u]se slides on Google Classroom to ensure that you have all
 important information in your notes or on the handouts.” (DE 63-14 at 2.)
 7      On the YouTube page, the description from the video-creator states that the
 music playing in the background is “Qasida Burdah” and provides two links for
 download, but neither link seems to be currently active. Hilsenrath has provided what
 she attests is a translation of the text of the song, which is religious in nature. (DE 63-
 17.) There is no testimony from C.H. that he clicked the links at the time of viewing
 the video or understood what the song, which was in Arabic, signified.


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 2:39, 3:02–25.) Also interspersed throughout the video are quotations (with
 attributions) from Muslim prayers, the Quran, and Muhammed. (Id. at 0:38,
 1:14, 1:24, 1:48, 4:30, 4:19.) The video closes with a text slide stating, “May
 God help us all find the true faith, Islam. Ameen” (id. at 4:42), and another
 slide, seemingly from the video-creator, thanking family members and Allah (id.
 at 4:50).
       In his deposition, C.H. testified that he did not remember much about
 this video, and did not recall feeling coerced. (C.H. Dep. at 24:24–25:1, 37:3–
 11.) That, of course, is relevant but not dispositive.
                      (b)   Worksheet
       The second lesson further explored the tenets of Islam. (DE 62-45 at 2.)
 Ms. Jakowski presented a second PowerPoint to the class that provided an
 overview of Islam’s major characteristics and its five pillars, “the five
 obligations that every Muslim must satisfy in order to live a good and
 responsible life according to Islam.” (Id. at 11.) As students listened to that
 lesson, they were given a worksheet that corresponded to the presentation. The
 worksheet had blanks which students would fill in, or incorrect statements
 which they would correct, based on information they had learned. (Jakowski
 Dep. at 40:1–10.) The PowerPoint and worksheet covered a range of topics at a
 general level: for example, how often Muslims pray, the practice of alms giving,
 and why Muslims fast. (Worksheet at 3–5; DE 62-45 at 11–20.)
       One slide and corresponding page of the worksheet concerned the pillar
 called shahadah, or “Testimony of Faith.” (DE 62-45 at 14.) The shahadah is
 described as “[t]he basic statement of the Islamic faith,” and the text of the
 shahadah was included in the PowerPoint. (Id. at 14.) 8 The worksheet


 8      Hilsenrath contends that the PowerPoint and worksheet also contained a link to
 a webpage that teaches visitors how to convert to Islam, and claims that students
 viewed it. (See 500 F. Supp. 3d at 280 n.5, SJ Op. at 5 n.5 (referring to Hilsenrath’s
 original brief in support of her motion).) There is indeed a link in both documents to
 an informational webpage from the BBC describing the shahadah. (DE 68-9 at 31, 42.)
 The webpage states, among other things, that “anyone who cannot recite [the
 shahadah] wholeheartedly is not a Muslim” and “[r]eciting this statement three times

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 contained an incomplete version of the shahadah, and students filled in the
 underlined blanks of the statement: “There is no god but ____ and _____ is his
 messenger.” (Worksheet at 4, the correct answers being “Allah” and
 “Muhammed.”) C.H. completed part of the worksheet, including the shahadah
 page. (C.H. Dep. at 36:1–9; DE 62-47.) 9
                      (c)   Five Pillars Video
       Like the first presentation, the five-pillars presentation contained a link
 to a video (“Video 2”) (DE 62-45 at 10), but Video 2 was not played in class or
 assigned as homework. (Jakowski Dep. at 36:4–6). C.H., evidently a diligent
 student, nevertheless watched it at home with his mother. (C.H. Dep. at 35:23–
 36:9). Video 2, five minutes long, opens with text stating that “the following is
 an Islamic educational presentation for primary and secondary schools.” (Video
 2 at 0:02 (capitalization altered).) Video 2 features two cartoon-animation boys,
 Alex and Yusuf, discussing Islam. Alex asks Yusuf, who is Muslim, questions
 about his religion. For example, Alex asks Yusuf when he prays and what
 Muslims believe. (Id. at 0:50–2:00.) Yusuf states that “Allah is the creator of
 everything.” (Id. at 1:30–34.) Yusuf then describes the five pillars to Alex and
 recites the shahadah. (Id. at 2:00–2:30.) Video 2 concludes with text
 instructing that the viewer can order more information from the video creator,


 in front of witnesses is all that anyone need do to become a Muslim.” Shahadah: the
 statement of faith, BBC,
 http://www.bbc.co.uk/religion/religions/islam/practices/shahadah.shtml (last
 updated Aug. 23, 2009). Other than Hilsenrath’s own testimony (DE 63-2 at 129–30),
 which does not seem to reflect firsthand observations, there is no indication that Ms.
 Jakowski instructed students to follow links in the PowerPoints at home or that C.H.
 himself followed any such link. (E.g., Jakowski Dep. at 45:11–19.) As to the worksheet,
 Ms. Jakowski testified that it was provided in class, presumably in hard copy (id. at
 40:1–3), and C.H. completed the worksheet by hand, so there is no indication that he
 would or could have clicked on such a link (C.H. Dep. at 44:23–45:5; see also DE 62-
 47).
 9      Ms. Jakowski described the worksheet as an in-class assignment. C.H. could
 not recall whether he completed it at home or in class. (Compare Jakowski Dep. at
 40:1–10, with C.H. Dep. at 45:9–10.) At any rate, it is undisputed that C.H. reviewed
 the PowerPoint and completed the worksheet as part of the course. (See id.)


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 an organization called Discover Islam, and can organize a mosque tour. (Id. at
 5:20.) It is clear that Discover Islam is a United Kingdom organization because
 its website ends in “co.uk,” the text of the video uses British spelling, and
 Yusuf and Alex speak with British accents.
                 Hilsenrath’s Complaints and Defendants’ Response
       After watching the videos with C.H. and reviewing the worksheet,
 Hilsenrath felt that the curriculum favored Islam at the expense of Christianity
 and Judaism. She sent emails expressing her concerns to (1) Steven Maher,
 Social Studies Content Supervisor for the School District; (2) Superintendent of
 Curriculum Karen Chase; (3) Superintendent Michael LaSusa; and (4) the
 Board of Education of the School District. 10 (DE 62-48; DE 62-50.)



 10    For context, I note the roles and responsibilities of each of these parties:
          •   Supervisor Maher develops the social studies curriculum and supervises
              the social studies teachers. (Def. SMF ¶¶ 85–88.)
          •   Assistant Superintendent Chase is responsible for oversight of the
              curriculum and Supervisor Maher. (Id. ¶ 78.)
          •   Superintendent LaSusa, under New Jersey law, is the “chief executive” of
              the District and has the power of “general supervision over all aspects,
              including . . . instructional programs, of the schools of the district.” N.J.
              Stat. Ann. § 18A:17-20(b); see also Def. SMF ¶ 72. He oversees District
              policy regarding curriculum and course materials, and Assistant
              Superintendent Chase reports to him. (Weber Dep. at 20:1–21:1, 35:10–
              15, 54:13–16; La Susa Dep. at 9:22–25.) He also has the responsibility to
              “ensure that teachers follow” District policy that religion is treated
              neutrally. (DE 63-15.) Although the Board has the power to hire and fire
              the superintendent, the Board does not have the power to overrule him
              on decisions regarding instructional materials and curriculum. (Weber
              Dep. at 20:1–21:8.) Ultimately, it is his decision to remove materials from
              courses, a decision that does not require approval from the Board, and
              his determination is deemed to represent that of the Board and District.
              (Id. at 51:7–14, 57:7–11; LaSusa Dep. at 101:2–102:2.)
          •   The Board, under New Jersey law, is the “body corporate” that supervises
              the District. N.J. Stat. Ann. §§ 18A:10-1, 18A:11-1(c)–(d). It consists of
              nine members and requires five votes to take any action. (Weber Dep. at
              34:9–10; see also N.J. Stat. Ann. § 18A:10-6.) Nonetheless, the
              superintendent retains final authority on most day-to-day matters

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          After sending those emails, Hilsenrath attended a Board meeting in
 February 2017 and voiced her concerns. (Def. SMF ¶ 186.) In response, the
 Board’s Curriculum Committee convened to discuss those concerns. (Id.
 ¶ 191.) When such complaints are raised, the Committee reviews and
 researches them and then publicly presents findings and any
 recommendations to the Board. (Weber Dep. at 19:7–25.) The Board usually
 does not take formal action regarding Committee recommendations but leaves
 that to the superintendent. (Id. at 20:1–21:8.) Here, the Committee meeting
 included Superintendent LaSusa, Assistant Superintendent Chase, Supervisor
 Maher, social studies teacher Stephanie Lukasiewicz, Board Member Michelle
 Clark, and Board President Jill Weber. (Def. SMF ¶ 195; LaSusa Dep. at 93:25–
 94:1.)
          After reviewing the curriculum and materials, Superintendent LaSusa
 and the Committee determined that no changes were necessary. They
 presented their findings at the next Board meeting, emphasizing that the
 curriculum as a whole aligned with the District policy of religious neutrality.
 (DE 62-53, at 2–4; DE 62-54, link to video, passim; DE 63-5 at 24:1–14.) Prior
 to the meeting, however, Hilsenrath (and others) appeared on a national
 television show to voice her concerns. Seemingly in reaction to what they
 regarded as misstatements on the show and the ensuing disruption,
 Superintendent LaSusa and Supervisor Maher had the links to the videos
 removed from the PowerPoints. (E.g., LaSusa Dep. at 87:6–18; DE 63-23 at 3–4
 (referring to reports of violent and vulgar communications).)
          B. Procedural History
          Months later, when C.H. was in eighth grade and no longer in the World
 Cultures and Geography course, Ms. Hilsenrath sued the District, the Board,
 Superintendent LaSusa, Assistant Superintendent Chase, Principal Jill
 Gihorski, Supervisor Maher, and the two teachers, Ms. Keown and Ms.


                involving the schools, including the curriculum, an area which the Board
                avoids. (Weber Dep. at 21:4–8.)


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  Jakowski. (Compl. ¶¶ 12–39.) Her claims against the individual defendants
  name them in their official capacities only. (Id. at 2.) She alleges a single claim
  under 42 U.S.C. § 1983: that the curriculum, with particular focus on the
  videos and worksheet, violates the Establishment Clause of the First
  Amendment to the United States Constitution. (Id. ¶¶ 99–116.) She seeks (1) an
  injunction prohibiting Defendants “from funding and implementing religious
  instruction that endorses Islam or that favors Islam,” (2) a declaration that
  Defendants violated the rights of herself and C.H. under the Establishment
  Clause, (3) a declaration that Defendants’ “training, supervision, policies,
  practices, customs, and procedures that promote Islam violate the
  Establishment Clause,” (4) nominal damages, and (5) attorney’s fees. (Id.,
  Prayer for Relief.)
        Defendants moved to dismiss the complaint. I denied that motion,
  holding that the Complaint on its face sufficiently alleged an Establishment
  Clause claim. Hilsenrath on behalf of C.H. v. Sch. Dist. of Chathams, Civ. No.
  18-966, 2018 WL 2980392, at *3–4 (D.N.J. June 13, 2018). Following
  discovery, the parties cross-moved for summary judgment. (DE 62, 63.) On
  November 12, 2020, I granted Defendants’ motion for summary judgment,
  denied Hilsenrath’s motion for summary judgment, and dismissed Hilsenrath’s
  Complaint. See SJ Op., 500 F. Supp. 3d 272 (D.N.J. 2020). Hilsenrath
  appealed. On July 20, 2022, the Third Circuit vacated the judgment without
  reaching the merits as such; rather it remanded the case to this Court “for
  further consideration in light of the Supreme Court’s opinion in Kennedy v.
  Bremerton Sch. Dist., 142 S. Ct. 2407 (June 27, 2022),” which had been
  decided in the interim, while the appeal was pending. See Hilsenrath on behalf
  of C.H. v. Sch. Dist. of Chathams, No. 20-3474, 2022 WL 2913754, at *1 (3d
  Cir. July 20, 2022). I then ordered supplemental briefing on the issues raised
  by the Third Circuit’s remand (DE 90), and the parties submitted briefs
  accordingly (DE 99, 100).




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            Having considered the parties’ supplemental submissions, I am now
  prepared to rule again on the parties’ motions as directed by the Third Circuit.
            LEGAL STANDARD
            Federal Rule of Civil Procedure 56(a) provides that “[t]he court shall grant
  summary judgment if the movant shows that there is no genuine dispute as to
  any material fact and the movant is entitled to judgment as a matter of law.” I
  incorporate from my prior opinion the remaining discussion of the legal
  standards governing motions and cross-motions for summary judgment. SJ
  Op. 10–11, 500 F. Supp. 3d at 282–83.
            DISCUSSION
            The sole issue before the Court concerns Ms. Hilsenrath’s Establishment
  Clause claim for nominal damages. 11 In accordance with the Third Circuit’s
  directive remanding this case “for further consideration in light of the Supreme
  Court’s opinion in Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407 (June 27,
  2022)” (DE 87), I now revisit the parties’ cross-motions for summary judgment.
  I begin my discussion with a brief summary of the Kennedy case and its
  bearing on the Establishment Clause challenge here. (Section III.A.) I then
  proceed to reanalyze the parties’ motions consistent with that decision. (Section
  III.B.)
            A. The Kennedy Opinion
            In Kennedy, the Supreme Court considered an appeal by a part time
  football coach, Joseph Kennedy, who claimed that he lost his job with the
  Bremerton School District for “kneel[ing] at midfield after games to offer a quiet
  prayer of thanks,” or for leading “pregame or postgame prayers in the locker


  11     The first three of my four original holdings are not implicated by Kennedy and
  therefore remain intact. See pp. 1–2, supra.
         This case having been narrowed to a pure Establishment Clause claim, I also do
  not analyze any other constitutional claim, e.g., violation of Fourteenth Amendment
  guarantees of substantive due process. See generally Troxel v. Granville, 530 U.S. 57
  (2000); C.N. v. Ridgewood Bd. of Educ., 430 F.3d 159, 185 (3d Cir. 2005); Gruenke v.
  Seip, 225 F.3d 290, 303–04 (3d Cir. 2000).


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  room.” Kennedy, 142 S. Ct. at 2415–16. Kennedy sued in federal court, alleging
  that the school district had violated the First Amendment’s Free Speech and
  Free Exercise Clauses. Id. at 2416. The Supreme Court found that Kennedy
  had discharged his initial burden to go forward with his free speech and free
  exercise claims. Id. at 2422–23. The burden thus shifted to the school district
  to demonstrate that its actions were justified. Id. at 2426. 12 Relevant here are
  the majority’s holdings with respect to the justification proffered by the school
  district that “its suspension of Mr. Kennedy was essential to avoid a violation of
  the Establishment Clause.” Id. The majority in Kennedy rejected this
  justification and, in so doing, rejected the so-called “Lemon test.” 13 In fact, the
  majority suggested that the Supreme Court had already impliedly abandoned
  Lemon and “instructed that the Establishment Clause must [instead] be
  interpreted by ‘reference to historical practices and understandings.’” Id. at
  2428 (citing Town of Greece, N.Y. v. Galloway, 572 U.S. 565, 576 (2014); Am.
  Legion v. Am. Humanist Ass’n, 139 S. Ct. 2067, 2087 (2019) (plurality opinion)).
  The majority continued:
               “‘[T]he line’” that courts and governments “must draw
               between the permissible and the impermissible” has to
               “‘accor[d] with history and faithfully reflec[t] the
               understanding of the Founding Fathers.’” Town of
               Greece, 572 U.S. at 577, 134 S.Ct. 1811 (quoting School

  12     I do not dwell on distinctions between the particular burdens associated with
  proving Free Exercise and Free Speech claims. The Court ruled that “[w]hether one
  views [Kennedy’s] case through the lens of the Free Exercise or Free Speech Clause,”
  Kennedy successfully discharged that initial burden, and that therefore “the burden
  shift[ed] to the District.” Kennedy, 142 S. Ct. at 2426.
  13      The reference is to Lemon v. Kurtzman, 403 U.S. 602 (1971). Lemon imposed a
  three-part inquiry for analyzing Establishment Clause claims, asking (1) whether the
  government practice had a secular purpose; (2) whether its “principal or primary
  effect” advanced or inhibited religion; and (3) whether it created “an excessive
  government entanglement with religion.” Id. at 612–13.
          In my prior decision, I applied the now-abandoned Lemon test to analyze
  Hilsenrath’s Establishment Clause claim. In doing so, I cited then-current Third
  Circuit law noting that Lemon had been eroded in many respects, but maintained its
  vitality in the area of public education. SJ Op. at 21, 500 F. Supp. 3d at 289–90.


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              Dist. of Abington Township v. Schempp, 374 U.S. 203,
              294, 83 S.Ct. 1560, 10 L.Ed.2d 844 (1963) (Brennan,
              J., concurring)). An analysis focused on original
              meaning and history, this Court has stressed, has long
              represented the rule rather than some “‘exception’”
              within     the    “Court's   Establishment     Clause
              jurisprudence.” 572 U.S. at 575.
  Id. at 2428 (additional citations omitted).
        While clearly rejecting the Lemon test, the majority in Kennedy was less
  clear about what would replace it—i.e., what would constitute a proper
  “historical analysis” of a party’s Establishment Clause claim in all cases.
  Nevertheless, the majority did lay down certain markers which I take as a guide
  for this Court’s analysis of these motions.
        The most prominent of those markers is the majority’s emphasis on the
  presence, or not, of coercion: “[T]his Court has long held that government may
  not, consistent with a historically sensitive understanding of the Establishment
  Clause, ‘make a religious observance compulsory.’” Id. at 2429 (quoting Zorach
  v. Clauson, 343 U.S. 306, 314 (1952)). The majority emphasized that “coercion
  along these lines was among the foremost hallmarks of religious
  establishments the framers sought to prohibit when they adopted the First
  Amendment.” Id.
        Further guidance as to what other facts might constitute “hallmarks” of
  an Establishment Clause violation may be found at the Kennedy majority
  decision footnote 5. That footnote has been described, plausibly in my view, as
  a “cipher for interpreting how the Court interprets the Establishment Clause by
  reference to history and tradition.” Daniel L. Chen, Kennedy v. Bremerton
  School District: The Final Demise of Lemon and the Future of the Establishment
  Clause, 21 Harvard J. L. & Pub. Policy Per Curiam, 9 (Summer 2022). Most
  helpful is that footnote’s reference to a portion of Justice Gorsuch’s
  concurrence in Shurtleff v. City of Boston, Massachusetts, in which he reviews
  “our constitutional history [for] some helpful hallmarks that localities and lower
  courts can rely on.” 596 U.S. 243, 285 (2022) (Gorsuch, J., concurring). There,
  Justice Gorsuch wrote that “[b]eyond a formal declaration that a religious

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  denomination was in fact the established church, . . . founding-era religious
  establishments often bore certain other telling traits,” including (1) “the
  government exerted control over the doctrine and personnel of the established
  church;” (2) “the government mandated attendance in the established church
  and punished people for failing to participate;” (3) “the government punished
  dissenting churches and individuals for their religious exercise;” (4) “the
  government restricted political participation by dissenters;” (5) “the government
  provided financial support for the established church, often in a way that
  preferred the established denomination over other churches;” and (6) “the
  government used the established church to carry out certain civil functions,
  often by giving the established church a monopoly over a specific function.”
  Id. 14 At least four of these contain a strong element of compulsion,
  corroborating the primacy of coercion in the Court’s analysis.
        To evaluate an Establishment Clause claim in a manner that is
  “consistent with a historically sensitive understanding of the Establishment
  Clause,” then, I must determine whether Hilsenrath’s case bears the


  14     In his concurring opinion in Shurtleff, Justice Gorsuch cited to and adopted the
  position of Professor Michael McConnell when he enumerated these six hallmarks of
  founding-era religious establishments. See Shurtleff v. City of Bos., Massachusetts, 596
  U.S. 243, 285–86(2022) (citing Michael W. McConnell, Establishment and
  Disestablishment at the Founding, Part I: Establishment of Religion, 44 William &
  Mary L. Rev. 2105 (2003)). Underscoring the Court’s adoption of these hallmarks as
  the guiding principles for Establishment Clause jurisprudence, footnote 5 of the
  majority opinion in Kennedy also cites directly to Professor McConnell’s scholarship.
  See Kennedy, 142 S. Ct. at 2429 n.5 (citing same).
         Footnote 5 of the majority opinion in Kennedy includes two additional citations,
  both of which refer to sources that elaborate further on the element of coercion. One
  citation is to a section of Justice Scalia’s dissent in Lee v. Weisman in which he
  explains that one of the “hallmark[s] of historical establishments of religion was
  coercion of religious orthodoxy and of financial support by force of law and threat of
  penalty,” 505 U.S. 577, 640–642 (1992) (Scalia, J., dissenting) (emphasis in original),
  and the other citation refers to a record of statement by James Madison in the Annals
  of Congress explaining that the First Amendment is aimed to prevent one or multiple
  sects from “establish[ing] a religion to which they would compel others to conform,” 1
  Annals of Cong. 730–731 (1789).


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  “hallmarks of religious establishments the framers sought to prohibit when
  they adopted the First Amendment.” Kennedy, 142 S. Ct. at 2429. I now
  proceed to apply those principles to the summary judgment motions currently
  before the Court.
        B. The Summary Judgment Motions on Remand
        As directed by the Third Circuit, I reanalyze Hilsenrath’s Establishment
  Clause claim for nominal damages, not under the Lemon test, but under the
  approach announced recently in Kennedy.
        I begin with some general observations. Lurking behind the Supreme
  Court’s analysis is the well-recognized tradeoff between the First Amendment
  Establishment Clause and Free Exercise Clause in particular cases. See
  generally Cutter v. Wilkinson, 544 U.S. 709, 719 (2005) (these two Clauses,
  while “express[ing] complementary values,” will “often exert conflicting
  pressures”); Locke v. Davey, 540 U.S. 712, 718 (2004) (describing the Clauses
  as “frequently in tension”). Any attempt to expand the scope of religious free
  exercise in the context of public institutions tends to be met by a
  corresponding objection that the state is threatening to establish a particular
  religion. Thus, in Kennedy, the coach argued that a school district’s restrictions
  on his prayers would interfere with his religious observances under the Free
  Exercise Clause; the school district replied that its hands were tied by the
  Establishment Clause, under which it could not permissibly endorse the
  coach’s religious observances or force others to participate in them. The
  Kennedy Court, however, found this to be a “false choice,” because at least on
  the facts of that case, these two constitutional commands were not “at odds.”
  142 S. Ct. at 2432. Because students and other observers were (to varying
  degrees) exposed to the coach’s prayers, but not coerced to participate in them,
  there arose “no conflict between the constitutional commands” of the
  Establishment Clause and the Free Exercise Clause. Id. In short, the facts “did
  not come close to crossing any line one might imagine separating protected
  private expression from impermissible government coercion.” Id. at 2429.



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        In a very general sense, Kennedy may be seen as restricting the scope of
  the Establishment Clause and, in the name of Free Exercise, granting a bit
  more leeway for the presence of religion in the setting of public education.
  Under the prior Lemon test, a practice might have been found impermissible if
  it lacked a “secular purpose,” “advance[d]” religion, or resulted in excessive
  “entanglement” of government and religion. Kennedy emphasizes official
  coercion and tradition, a test which will often set a higher threshold for an
  Establishment Clause challenge. 15
        Kennedy is not, however, legally or factually on point with our case. To
  begin with, there is no countervailing Free Exercise issue in our case that
  resembles the one in Kennedy; no coaches, faculty members, or even students
  are claiming that the authorities punished them for practicing their religion on
  school property. So in remanding, the Third Circuit surely was not saying that
  Kennedy is directly on point, but rather was responding to this Court’s
  application of the Lemon test, which Kennedy has now declared to have been
  superseded.
        Ms. Hilsenrath’s is a pure Establishment Clause claim. Therefore, I
  eschew the now-superseded Lemon test and, gleaning what guidance I can find
  from Kennedy, I will analyze whether the challenged materials from C.H.’s
  World Cultures and Geography course bear any of the historical “hallmarks of
  religious establishments.” Id. at 2407 n.5. As before, I analyze the challenged
  materials as a whole and in the context of the curriculum. See, e.g., Cnty. of
  Allegheny v. ACLU Greater Pittsburgh Chapter, 492 U.S. 573, 597 (1989),
  abrogated on other grounds by Town of Greece, 572 U.S. 565. Nothing about
  Kennedy undermines the principle that context remains critical, or vitiates the
  warning that to “[f]ocus exclusively on the religious component of any activity
  would inevitably lead to [the activity’s] invalidation.” Lynch v. Donnelly, 465


  15    That is not to say that the considerations underlying the Lemon test have
  become irrelevant; far from it. Kennedy makes it clear, however, that the legal test has
  changed.


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  U.S. 668, 679–80 (1984) (emphasis added); see also Wood v. Arnold, 915 F.3d
  308, 314 (4th Cir. 2019) (“[C]ourts . . . consistently have examined the entire
  context surrounding the challenged practice, rather than only reviewing the
  contested portion.” (collecting cases from the Fourth, Fifth, Sixth, Seventh,
  Ninth, and Eleventh Circuits)), cert. denied, 140 S. Ct. 399 (2019).
        I first consider whether the challenged World Cultures and Geography
  curriculum and materials were coercive. The Kennedy Court recognized
  coercion to be “among the foremost hallmarks of religious establishments the
  framers sought to prohibit when they adopted the First Amendment.” 142 S.
  Ct. at 2429. After reviewing the parties’ submissions, I find that the record
  contains no evidence of significant coercion. 16
        To begin with, C.H. expressly testified that he never felt coerced. In fact,
  C.H. (correctly, in the District’s view) perceived the purpose and effect of the
  lessons as being to educate students about world religions and the importance
  of avoiding group generalizations. (C.H. Dep. at 24:18–25:1, 40:8–24, 41:22–
  25.) Nor did any other student testify that he or she experienced the course
  materials as coercive. In short, direct, subjective evidence of coercion is
  lacking.




  16      The analysis here is hampered somewhat by the Kennedy Court’s having found
  it unnecessary to define “what exactly qualifies as impermissible coercion in light of
  the original meaning of the Establishment Clause.” Kennedy, 142 S. Ct. at 2429.
  Precision may not be required, however; here, as in Kennedy, the challenged
  curriculum and materials, however repugnant to any individual’s sectarian religious
  beliefs, “did not come close to crossing any line one might imagine separating [secular
  public education] from impermissible government coercion.” Id. Unless and until the
  Third Circuit holds to the contrary, I continue to be guided by its mandate, which I
  take to be consistent with Kennedy, that the reviewing court “look[] at whether the
  government is coerc[ing] anyone to support or participate in religion or its exercise.”
  Borden v. Sch. Dist. of Twp. of E. Brunswick, 523 F.3d 153, 175 n.18. (3d Cir. 2008)
  (citation omitted); see also C.N. v. Ridgewood Bd. of Educ., 430 F.3d at 187. While the
  students here were exposed to religious materials, there is no testimony from any
  individual that he or she experienced pressure to support or participate in the practice
  of any religion.


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        Even through an objective lens, however, the materials cannot be viewed
  as tending to compel a student “by force of law and threat of penalty,” to
  adhere to a particular religious belief or participate in a particular religious
  practice. Lee v. Weisman, 505 U.S. at 640–42 (Scalia, J., dissenting). For the
  reasons expressed in my prior Opinion, I adhere to my conclusion that “Video 1
  was used to introduce students to the tenets of Islam . . . [and] Video 2 likewise
  explored Islam through a neutral question-and-answer format that could not
  be regarded as proselytizing.” SJ. Op. at 23, 500 F. Supp. 3d at 291. And while
  “the worksheet contained fill-in-the-blanks questions, as is typical at the
  middle-school level[,] . . . [t]he format fell well short of compelled recitation of a
  prayer,” as the worksheet was “clearly designed to assess the students’
  understanding of the lesson on Islam,” not to inveigle them into praying. Id.
  (citation and quotation omitted). Now of course there is a baseline level of
  coercion in all public education, irrespective of the subject matter. 17 The
  coercion relevant here, however, would be coerced participation in or adherence
  to a religious belief or practice. The educational units at issue, while exposing
  students to the tenets of religious faiths in various regions of the world, did not
  require or coerce students “to support or participate in” the religious faith
  covered by that unit. Borden, 523 F.3d at 175 n.18. (3d Cir. 2008) (emphasis
  added). Reasonable students, teachers, and parents would understand that the
  school’s mission here was pedagogical, even if these course units exposed
  students to world religions whose adherents engage in proselytization. My prior
  observation on that point, although phrased in terms of the Lemon test,
  remains valid. See SJ Op. at 23, 500 F. Supp. 3d at 291 (“Of course, the
  statements of a religion's adherents have a religious purpose, in the mouths of

  17     For example, students are required to attend school from the ages of 6 to 16,
  https://nj.gov/education/safety/sandp/attendance (citing N.J. Stat. Ann. §§ 18A:38-
  28 through 31) (last visited Sept. 25, 2023), and their completion of assignments is
  enforced by the grading system. I note in passing that the Board apparently had a
  policy permitting students to be excused from any part of instruction which the
  student or parent finds morally, conscientiously, or religiously offensive. (Def. SMF ¶
  38.)


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  those adherents. But for secular educators to teach and study about such
  statements is not to espouse them, or to proselytize.”). 18
         The all-important context here is that this unit was part of a
  comprehensive curriculum on world cultures, which necessarily included units
  about the predominant religions in the particular area of the world being
  studied. Religion was not taught as revealed truth, but rather as an important
  fact about the world. Kennedy itself only reinforces the view, expressed at more
  length in my prior opinion, that exposure to a variety of viewpoints, including
  religious ones, is a proper goal. That goal is not undermined, and indeed may
  be enhanced, by non-coercive exposure to opposing beliefs. See Kennedy, 142
  S. Ct. at 2431 (any rule suppressing coach’s religious expression “would
  undermine a long constitutional tradition under which learning how to tolerate
  diverse expressive activities has always been ‘part of learning how to live in a
  pluralistic society.’”). 19
         In her brief, Hilsenrath does not meaningfully address the Third Circuit’s
  mandate on remand, but for the most part hews to her prior general argument

  18     The following observations from my prior Opinion, although presented in the
  context of the Lemon “endorsement” test, remain valid to my point here that the
  curriculum was educational, not coercive:
         Although the video-creator can be perceived as believing those tenets,
         neither the lesson, Ms. Jakowski, nor even the video-creator invites or
         encourages the students to adopt those views. This is par for the course;
         to take the Ninth Circuit’s cogent example, “Luther’s ‘Ninety-Nine Theses’
         are hardly balanced or objective, yet their pronounced and even
         vehement bias does not prevent their study in a history class’s
         exploration of the Protestant Reformation, nor is Protestantism itself
         ‘advanced’ thereby.” [Brown v. Woodland Joint Unified Sch. Dist., 27 F.3d
         1373, 1380 (9th Cir. 1994)]. When, as here, religious beliefs are
         presented to educate, not convert, students, there is no endorsement of
         religion.
  SJ. Op. at 25–26, 500 F. Supp. 3d at 292.
  19      The prior Opinion’s discussion of the curriculum’s secular purpose, primary
  effect, and entanglement, although keyed to the Lemon test, is highly pertinent and
  more comprehensive than the discussion here. SJ Op. at 21–29, 500 F. Supp. 3d at
  290–95. It should be read in conjunction with this Opinion.


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  that it is a violation of the Establishment Clause for a public school “to
  proselytize or to favor any one religion over others.” (Pl. Br. at 7.) Whatever its
  legal merits, that argument fails on the facts, and has only grown weaker in
  light of Kennedy’s newfound emphasis on coercion. Kennedy, in my view, does
  not undermine the case law cited in my prior Opinion, at least insofar as it
  applies to this fact pattern. See SJ Op. at 21–29, 500 F. Supp. 3d at 289–95.
        The findings of undisputed fact in my prior Opinion dispel any notion
  that the World Cultures and Geography course promoted Islam at the expense
  of other religions. The evidence, I found, demonstrates that “the curriculum
  treats Islam equally with other religions. It is not a standalone course of study,
  but is part of a larger survey of world regions and religions.” SJ Op. at 24, 500
  F. Supp. 3d at 291. Thus “the World Cultures course includes similar units on,
  for example, Hinduism and Buddhism, in which students watch videos on
  those religions to understand their tenets and practices.” Id. (citing DE 62-39
  at 4, 8–11; DE 68-8). I also rejected Hilsenrath’s argument that “because the
  videos on Hinduism and Buddhism are from the perspective of a more neutral
  narrator, the World Cultures course does not treat all religions equally and
  proselytizes when it comes to Islam.” Id. at 25 n.14. The reader is referred to
  the Court’s discussion of these arguments in the prior summary judgment
  Opinion.
        By focusing on these prior arguments, Hilsenrath fails to grapple with
  the task placed before the Court by the mandate of the Third Circuit, i.e., to set
  aside the old Lemon test and revisit the case in light of the largely coercion-
  based standard adopted by the majority in Kennedy.
        The World Cultures and Geography curriculum and materials do not
  present any of the “hallmarks” associated with establishment of religion to
  which Kennedy alluded. There is no evidence that by assigning middle school
  students activities and homework regarding various religions and cultures, the
  Board “exerted control over the doctrine and personnel of [an] established
  church,” “mandated attendance in [an] established church and punished



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  people for failing to participate,” “punished dissenting churches and
  individuals for their religious exercise,” “restricted political participation by
  dissenters,” “provided financial support for [an] established church,” or “used
  the established church to carry out . . . civil functions.” Shurtleff, 596 U.S. at
  286 (Gorsuch, J., concurring). These, the sole guides that Kennedy has
  furnished the lower courts for the assessment of “coercion” for purposes of an
  Establishment Clause challenge in the context of public education, do not fit
  the facts of our case.
                                        *    *     *
        In sum, the curriculum and materials here were not coercive and do not
  otherwise bear or resemble the “hallmarks of religious establishments the
  framers sought to prohibit when they adopted the First Amendment.”
  Accordingly, the Board did not violate the Establishment Clause. I will enter
  summary judgment in the Board’s favor on Hilsenrath’s remaining nominal-
  damages claim.
        CONCLUSION
        For the reasons set forth above, Defendants’ motion for summary
  judgment, reconsidered on remand with the benefit of additional briefing, is
  GRANTED, and Hilsenrath’s motion for summary judgment is DENIED.
        An appropriate order follows.
  Dated: October 16, 2023
                                                   /s/ Kevin McNulty
                                                   ___________________________________
                                                   Hon. Kevin McNulty
                                                   United States District Judge




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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


 LIBBY HILSENRATH, on behalf of
 her minor child, C.H.,

       Plaintiff,

       v.
                                               Civ. No. 18-00966 (KM) (MAH)
 SCHOOL DISTRICT OF THE
 CHATHAMS, BOARD OF EDUCATION                            ORDER
 OF THE SCHOOL DISTRICT OF THE
 CHATHAMS, MICHAEL LASUSA,
 KAREN CHASE, JILL GIHORSKI,
 STEVEN MAHER, MEGAN KEOWN,
 and CHRISTINE JAKOWSKI,

       Defendants.



       THIS MATTER having come before the Court via remand from the Court
 of Appeals for reconsideration of the motion for summary judgment filed by
 Defendants (DE 62), and the cross-motion for summary judgment filed by
 Plaintiff (DE 63); and the Court having considered the submissions and
 supplemental submissions on remand (DE 62, 63, 68–71, 99, 100) without oral
 argument pursuant to Fed. R. Civ. P. 78(b); for the reasons stated in the
 Court’s original Opinion (DE 82), as revised and extended in the accompanying
 Supplemental Opinion on Remand; and good cause appearing therefor;
       IT IS this 16th day of October, 2023,
       ORDERED that Defendants’ motion for summary judgment (DE 62) is
 GRANTED; and
       IT IS FURTHER ORDERED that Plaintiff’s motion for summary
 judgment (DE 63) is DENIED.




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      The clerk is directed to close the file.


                                       /s/ Kevin McNulty
                                       ____________________________________
                                       Kevin McNulty
                                       United States District Judge




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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 LIBBY HILSENRATH, on behalf of
 her minor child, C.H.,

       Plaintiff,

 v.                                                        Case No. 18-00966 (KM) (MAH)

 SCHOOL DISTRICT OF THE
 CHATHAMS, BOARD OF EDUCATION
 OF THE SCHOOL DISTRICT OF THE
 CHATHAMS, MICHAEL LASUSA,
 KAREN CHASE, JILL GIHORSKI,
 STEVEN MAHER, MEGAN KEOWN,
 and CHRISTINE JAKOWSKI,

       Defendants.
                                                       /

                                       NOTICE OF APPEAL

        NOTICE is hereby given that Plaintiff Libby Hilsenrath, on behalf of her minor child, C.H.,

 hereby appeals to the United States Court of Appeals for the Third Circuit from the Order and

 Supplemental Opinion on Remand entered in this civil action on October 16, 2023, granting

 Defendants’ Motion for Summary Judgment and denying Plaintiff’s Motion for Summary

 Judgment and dismissing all claims.

                                             Respectfully Submitted,


                                             /s/ Michael P. Hrycak
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                                     Attorneys for Plaintiff

 DATED: November 13, 2023




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